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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, FRIENDSHIP-
WEST BAPTIST CHURCH, THE ANTI-DEFAMATION
LEAGUE AUSTIN, SOUTHWEST, AND TEXOMA
REGIONS, SOUTHWEST VOTER REGISTRATION
EDUCATION PROJECT, TEXAS IMPACT, MEXICAN
AMERICAN BAR ASSOCIATION OF TEXAS, TEXAS
HISPANICS ORGANIZED FOR POLITICAL
EDUCATION, JOLT ACTION, WILLIAM C.
VELASQUEZ INSTITUTE, FIEL HOUSTON INC.,
ISABEL LONGORIA, and JAMES LEWIN,

                        Plaintiffs,                                          Case No. 5:21-cv-844

v.

GREGORY W.ABBOTT, in his official capacity as
Governor of Texas, JOSE A. ESPARZA, in his official
capacity as Deputy Secretary of State of Texas, WARREN
K. PAXTON, in his official capacity as Attorney General of
Texas, and LUPE C. TORRES, in her official capacity as
Medina County Elections Administrator,

                        Defendants.


                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

            Plaintiffs are membership and community-based organizations, many of whom represent

     the interests of Latino and Black Texans, churches and other faith-based groups, the Harris County

     Elections Administrator, and a Texan who has served as an election judge. Plaintiffs bring this

     action to challenge Senate Bill 1 (“SB1”), a new law that (among other things) restricts voter

     assistance; enables partisan poll watchers to intimidate voters and poll workers; and threatens to

     criminalize community-based voter engagement activities and election administration conduct that

     are otherwise protected by the United States Constitution, federal election law and the Texas

     Election Code. On behalf of themselves and their members, Plaintiffs seek declaratory and
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injunctive relief to enforce the United States Constitution, the Voting Rights Act of 1965 (“VRA”),

and the Americans with Disabilities Act (“ADA”).

                                      I.     INTRODUCTION

       1.         The 2020 general election in Texas was, according to the Texas Secretary of State’s

office, “smooth and secure.”1 In the face of a global pandemic, the performance by Texas officials

and voters alike during the 2020 election showcased their strength to overcome obstacles and fulfill

the promise of democratic participation even, and perhaps especially, in light of a changing Texas

electorate.

       2.         Despite this, now on its third try, the Texas Legislature enacted SB1. This new law

imposes a series of additional burdens and restrictions that will have the effect of suppressing

Texas voters and discouraging—including by criminalizing—work that has long been performed

faithfully by public employees, private organizations and individuals to help citizens exercise their

constitutional right to vote. Among its many provisions, SB1:

                 Targets Texans who need assistance to vote—including people who have limited

                  English proficiency, disabilities, and/or less formal education—by adding multiple

                  new requirements that hinder the provision of assistance at the polling place,

                  curbside, or in connection with mail ballots (e.g., Sections 6.01, 6.03, 6.04, and

                  6.05).


                 Gives partisan poll watchers “free movement” to intimidate and harass voters and

                  poll workers by expanding watchers’ authority, while constraining election


1
  Taylor Goldenstein et al., Did a ‘Smooth and Secure’ 2020 Election Cost Texas Secretary of
State Her Job?, Houston Chronicle (May 21, 2021), https://www.houstonchronicle.com/politics/
texas/article/Texas-Secretary-of-State-Ruth-Hughs-resigns-under-16195586.php; also available at
https://electionlawblog.org/?p=122282.

                                                   2
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                administrators’ ability to ensure peaceful, orderly elections under penalty of

                criminal prosecution (e.g., Section 4.01, 4.06, 4.07, 4.09, and 4.10).


               Quashes protected political speech and legitimate voter turnout initiatives through

                overbroad and vague criminal penalties for so-called “vote harvesting”

                (Section 7.04).


               Silences public officials and election officials who would encourage Texans who

                are eligible to vote by mail to request a mail-in voting application by criminalizing

                their speech (Section 7.04).


               Restricts counties from offering accommodations that facilitated record turnout in

                2020, including distributing mail ballot applications (Section 7.04), allowing for

                drive-thru voting (Section 3.04), permitting the use of movable structures as polling

                places (Section 3.13), and authorizing 24-hour early voting (Sections 3.09 and

                3.10).


       3.       Governor Abbott called for this legislation on the pretextual grounds that it was

necessary to prevent voter fraud. But there is simply no evidence that voter fraud occurs in Texas

beyond the very few examples already identified through Texas’s pre-existing processes and

procedures. Indeed, as Texas Representative Diego Bernal testified before the Congressional

subcommittee on Civil Rights and Civil Liberties on July 29, 2021: “There [we]re 154 prosecutions

of voter fraud in the past 17 years in Texas out of 94 million votes cast. The likelihood of voter




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fraud in Texas is less than any one of us being struck by lightning.”2 Thus, the additional burdens

and restrictions on voting contained in SB1 are not, and cannot be, justified by invoking

unspecified and unproven voter fraud.

         4.      Rather, as described further below, SB1 is a reaction to Texas’s changing electorate,

which is now more racially diverse and younger than ever before. Indeed, minority voter turnout

in Texas in the 2018 mid-term election was dramatically higher than the 2014 mid-term, and

turnout in the 2020 General Election—even in the face of COVID-related challenges—was higher

than for any general election in the state since 1992. Local election officials and community

organizations throughout the State helped Texas voters fulfill their commitment to exercising their

rights. This effort—and the resulting success—merits universal praise. Instead, however, the

Texas Legislature responded to these community success stories by making baseless claims of

threats to “election integrity,” outlawing the very election procedures that made the 2020 election

a success, and imposing additional requirements that will make it even harder for Texans—

especially those in Texas’s growing minority populations—to participate in our democracy.

         5.      Each of SB1’s limitations described above and below violates federal law and will

cause irreparable harm to Plaintiffs and citizens of Texas more broadly. In particular, SB1’s new

restrictions on voter assistance violate Sections 2 and 208 of the Voting Rights Act of 1965,3 and

the Americans with Disabilities Act.4 SB1’s ill-defined prohibition on “vote harvesting” violates



2
  House Committee on Oversight & Reform, Democracy in Danger: The Assault on Voting Rights
in Texas (July 29, 2021) https://oversight.house.gov/legislation/hearings/democracy-in-danger-
the-assault-on-voting-rights-in-texas.
3
  52 U.S.C. §§ 10301 and 10508 (“Any voter who requires assistance to vote by reason of
blindness, disability, or inability to read or write may be given assistance by a person of the voter’s
choice.”).
4
    42 U.S.C. §§ 12131, et seq.

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both the First Amendment and the Fourteenth Amendment’s Due Process Clause because these

provisions criminalize protected speech and are unconstitutionally vague. The provisions on poll

watcher obstruction are similarly vague—putting poll workers at risk of arbitrary prosecution.

SB1’s restrictions on the exercise of the right to vote violate the First and Fourteenth Amendments

by unduly burdening voting rights and impermissibly limiting free speech of voter assistors, public

officials, and election officials. SB1’s harsh provisions also violate the First and Fourteenth

Amendment because they criminalize public official and election official speech that would

encourage eligible voters to exercise their right to vote by mail because of its content and, more

importantly, its point of view. Lastly, as set forth below, SB1 intentionally discriminates against

Texas minority voters in violation of the Fourteenth and Fifteenth Amendments.

        6.      Plaintiffs respectfully request that the Court declare that the challenged provisions

of SB1 are unlawful and enjoin Defendants from enforcing the challenged provisions.

                              II.      JURISDICTION AND VENUE

        7.      This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) and (4) because

the claims in this action arise under federal law and seek to redress the deprivation of federal civil

rights, including the right to vote.

        8.      Venue is proper in this district under 28 U.S.C. § 1391(b) because all Defendants

reside in Texas, and Defendants perform their official duties in this district.

                                         III.    PARTIES

A.      Plaintiffs

        9.      Plaintiff LA UNIÓN DEL PUEBLO ENTERO (“LUPE”) is a non-partisan

membership organization founded by labor rights activists César Chávez and Dolores Huerta.

LUPE’s mission is to build strong, healthy communities in the Texas Rio Grande Valley through

community organizing and civic engagement. To promote civic engagement in the communities

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it serves, LUPE conducts know-your-rights discussions and membership meetings, participates in

issue-focused advocacy, connects its members to social services, conducts census outreach, and

conducts voter registration, education, and non-partisan get-out-the-vote campaigns (GOTV).

LUPE is headquartered in San Juan, Texas, and its members primarily reside in Hidalgo, Cameron,

Willacy, and Starr Counties, Texas. LUPE has more than 8,000 members, including Latinos, U.S.

citizens, and registered voters, some of whom are disabled and/or have limited English

proficiency.

         10.   Plaintiff FRIENDSHIP-WEST BAPTIST CHURCH (“FRIENDSHIP-WEST”) is

a non-partisan religious organization in Dallas that serves a predominantly Black congregation of

more than 12,000 members. To promote democracy and voter engagement in the community it

serves, FRIENDSHIP-WEST serves as a polling place, provides voter education, and encourages

its congregants and others to register, to vote, and to serve as poll workers.

         11.   Plaintiffs ANTI-DEFAMATION LEAGUE AUSTIN, SOUTHWEST, AND

TEXOMA REGIONS (“ADL”) are the regional offices of the non-partisan Anti-Defamation

League in Texas. ADL has at least 23,000 supporters who are Texas residents, a substantial

number of whom are registered to vote in Texas. ADL also has approximately 250 regional board

members throughout Texas. ADL’s mission in Texas, consistent with their national organization’s

overall mandate, is to protect the civil rights of all persons, eliminate vestiges of discrimination,

racism, extremism, and antisemitism within communities in Texas, and to fight hatred in all its

forms.

         12.   Plaintiff SOUTHWEST VOTER REGISTRATION EDUCATION PROJECT

(“SVREP”) is a nonprofit and non-partisan organization committed to promoting and increasing

participation of Latino and other minority communities across the United States in the democratic



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process through voter registration, voter education, and voter participation activities. In Texas and

in Medina County, SVREP conducts voter registration and organizes non-partisan get-out-the-vote

drives to remind voters of election dates and to inform them about requirements for voting.

       13.     Plaintiff TEXAS IMPACT is a nonprofit, non-partisan, multi-denominational

organization working to put faith into action by equipping faith leaders and their congregations

with information, opportunities, and outreach tools to educate communities and engage with

lawmakers on pressing policy issues. TEXAS IMPACT is comprised of dozens of member

organizations, hundreds of member congregations, and more than 22,000 individual members who

span the partisan spectrum, represent different ethnicities and denominations, and include

individuals with disabilities. To further its mission, TEXAS IMPACT works to ensure that all

eligible Texans can exercise their right to vote free from suppression. To advance that goal,

TEXAS IMPACT and its members (at all three levels: denominational bodies, congregations, and

individuals) (a) assist voters with registration; (b) educate voters on their rights, including

eligibility to vote, eligibility to vote by mail, and polling place locations; and (c) encourage

members and others to volunteer as election judges and poll workers.

       14.     Plaintiff MEXICAN AMERICAN BAR ASSOCIATION OF TEXAS (“MABA-

TX”) is a professional association of Latino lawyers located in Texas. MABA-TX is a multi-

purpose organization, and its goals include, among other goals: to provide a forum and a means

for lawyers to promote the social, economic and educational advancement of the people of Texas;

to speak on behalf of the Latino community on legal issues affecting the community; to serve the

Latino populace as a professional association by providing services, assistance and advice on

matters of legal concern to the community; to work through legislation, advocacy and education




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to accomplish these goals; and to preserve high standards of integrity, honor and professional

courtesy among Latino lawyers.

       15.     Plaintiff TEXAS HISPANICS ORGANIZED FOR POLITICAL EDUCATION

(“TEXAS HOPE”) is a nonprofit that seeks to empower Latinos in Texas through civil

engagement, civic education, and outreach. TEXAS HOPE’s activities include helping register

Latino citizens to vote, volunteering to take registered voters to the polls on election days, serving

as poll watchers, administering voter education workshops, and conducting legislative advocacy

on issues important to the Latino community including education, voting rights, immigrants’

rights, healthcare, and housing. TEXAS HOPE is a membership organization, and members of

TEXAS HOPE reside throughout Texas including in the following counties: Bell, Bexar, Dallas,

Denton, Ector, El Paso, Guadalupe, Harris, Lubbock, Tarrant, Tom Greene, Travis, Victoria,

Wharton, and Williamson.

       16.     Plaintiff JOLT ACTION is a nonprofit organization whose mission is to increase

the civic participation of Latinos in Texas to build a stronger democracy. JOLT ACTION conducts

and trains community members to conduct non-partisan voter registration and voter mobilization,

works to develop Latino youth leadership, promotes community and student organizing, and

supports cultural activities. JOLT ACTION is a membership organization whose members include

Latino high school, community college, and university students.

       17.     Plaintiff WILLIAM C. VELASQUEZ INSTITUTE (“WCVI”) is a nonprofit and

non-partisan public policy analysis organization that conducts research aimed at improving the

level of political and economic participation in Latino and other underrepresented communities.

WCVI uses its research to provide information relevant to the needs of their constituents to Latino




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community leaders, including political behavior and opinions of Latinos and the impact of public

policies on Latinos.

       18.     Plaintiff FIEL Houston Inc. (“FIEL”) is a nonprofit, non-partisan membership

organization based in Houston, Texas. FIEL is an immigrant-led organization that advocates for

just laws for immigrant youth, their families, access to higher education for all people regardless

of immigration status, and access to justice for the community. FIEL was born out of the need for

civic engagement in support of undocumented students seeking higher education and conducts

organizing for the betterment of the communities it serves, including voter registration and

education, phone-banking, census outreach, and other advocacy efforts. FIEL has approximately

11,000 members in the greater Houston area, including Latinos, U.S. citizens, and non-U.S.

citizens. FIEL members reside in parts of Texas where communities of color constitute significant

portions of the population, including Harris County.

       19.     Plaintiff ISABEL LONGORIA is the Harris County Elections Administrator, a

public official and election official serving in Harris County, Texas.

       20.     The Harris County Elections Administrator is appointed by the Harris County

Elections Commission and is a public official and an election official within the meaning of

Section 1.06 of SB1. As the Elections Administrator, Ms. Longoria is responsible for carrying out

the statutory electoral functions outlined by state and federal law, including overseeing the conduct

of elections, providing information concerning early voting to individual voters, and distributing

official applications to vote by mail to eligible voters.5




5
 TEX. ELEC. CODE § 31.043 (assigning the duties and functions of the county clerk under the
Election Code to the county elections administrator); id. § 83.002 (naming the county clerk as
early voting clerk in many elections).


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         21.     Plaintiff JAMES LEWIN is a Texas voter residing in Austin, Texas. Mr. Lewin

worked as a deputy election judge during the October 2020 early voting period. Mr. Lewin decided

to work at the polls because he observed well-intentioned poll workers giving voters incorrect

information in previous elections. Mr. Lewin wanted to ensure that polling places were staffed

with informed workers who could provide correct information and guidance so that eligible voters

could properly cast ballots that would count.

B.       Defendants

         22.     Defendant GREGORY W. (“Greg”) ABBOTT is the Governor of Texas and,

pursuant to Article IV, Section I of the Texas Constitution, is the chief executive officer of the

State of Texas. He is sued in his official capacity.

         23.     Defendant WARREN K. (“Ken”) PAXTON is the Attorney General of Texas, the

state’s chief law enforcement officer. He is sued in his official capacity.

         24.     Defendant JOSE A. ESPARZA is the Deputy Secretary of State of Texas. Because

the Office of the Secretary of State of Texas is currently vacant, Esparza, in his official capacity,

is currently responsible for administering and implementing the election laws in Texas, including

SB1.6 He is sued in his official capacity.

         25.     The Texas Election Code “operate[s] . . . under the direction and guidance of the

Secretary of State.” 7 The Secretary shall “obtain and maintain uniformity in the application,

operation, and interpretation of [the] code and [other] election laws,” “prepare detailed and

comprehensive written directives and instructions” for “the appropriate state and local authorities,”



6
    TEX. ELEC. CODE § 31.001(a); Tex. Gov’t Code § 405.004.
7
    State of Texas v. Hollins, No. 20-0729, 2020 WL 5919729, at *5 (Tex. Oct. 7, 2020).



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and “assist and advise all election authorities with regard to the application, operation, and

interpretation” of election laws.8

         26.    Defendant Paxton has recently filed suit on behalf of the State of Texas to enforce

provisions of the Texas Election Code and to restrict the actions of a local election official.9

         27.    Defendant Paxton also has statewide investigative authority and concurrent

prosecutorial authority with local prosecutors related to the state’s election laws and has stated that

prosecution of election-related offenses is one of his priorities.

         28.    Defendants Paxton and Esparza are both charged with enforcing and will enforce

the provisions of SB1 challenged here.

         29.    Defendant LUPE C. TORRES is the Elections Administrator of Medina County.

She is sued in her official capacity.

                                 IV.     FACT BACKGROUND

A.       Texas law has long restricted Latino and Black citizens’ right to vote.

         30.    SB1 is the latest chapter in Texas’s “long, well-documented history of

discrimination” against Latino and Black citizens in the voting and electoral processes.10

         31.    From as early as 1845, the year Texas gained its statehood, the government has

suppressed Latinos’ political participation. Laws prohibited Texans from using the Spanish

language and Mexican-Americans from serving as election judges.




8
    TEX. ELEC. CODE §§ 31.003–31.004.
9
    Hollins, 2020 WL 5919729, at *5.
10
  League of United Latin Am. Citizens v. Perry, 548 U.S. 399 (2006) (quoting Vera v. Richards,
861 F.Supp. 1304, 1317 (S.D. Tex. 1994).


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          32.      Texas continued to formally disenfranchise Latino and Black citizens throughout

the 19th and 20th centuries. In 1902, Texas voters approved a constitutional amendment requiring

poll taxes, the “primary purpose” of which was a “desire to disenfranchise the Negro and the poor

white supporters of the Populist Party.”11 The poll tax also disenfranchised Latino citizens, many

of whom could not afford it. Texas maintained a poll tax until the Supreme Court found such taxes

unconstitutional in 1966.12

          33.      In the late 19th and early 20th centuries, the Texas Legislature expanded poll

watchers’ power to challenge voters (without any requirement of substantiating evidence), which

facilitated discriminatory and abusive challenges to voter eligibility in an apparent attempt to

disenfranchise voters of color.13 Among other restrictions, the law included notorious Terrell

election laws, which included a poll tax and provisions giving rise to “white primaries”14 that also

served to disenfranchise Black and Latino voters. One Texas newspaper declared that the white

primary “absolutely eliminates the Mexican vote as a factor in nominating county candidates,

though we graciously grant the Mexican the privilege of voting for them afterwards.”15 This law

remained in effect in some form until its 2003 repeal.16

          34.      In the 1900s, Texas Rangers actively discouraged Latinos from voting by

selectively investigating them and scaring would-be voters by suggesting they would be




11
     United States v. Texas, 252 F. Supp. 234, 245 (W.D. Tex. 1966).
12
     See Harper v. Virginia State Bd. of Elections, 383 U.S. 663 (1966).
13
    NICOLAS RILEY, BRENNAN CTR. FOR JUSTICE, VOTER CHALLENGERS 9–10 (2012),
https://www.brennancenter.org/our-work/research-reports/voter-challengers.
14
     Id. at 10, n. 75.
15
     DAVID MONTEJANO, ANGLOS AND MEXICANS IN THE MAKING OF TEXAS 1836–1986 144 (1986).
16
     Id. at 17.

                                                  12
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imprisoned for voting if illiterate. The mere presence of armed Rangers at polling stations

understandably intimidated Latino voters.

          35.    In the early 20th century, on multiple occasions, mobs gathered at polling places to

prevent Latinos from voting. In one such incident, the so-called “Good Government League”

assaulted the Weslaco barrio election box, and the crowd reportedly shouted, “Don’t let those

Mexicans in to vote. Throw them out.” Latino participation decreased as a result.

          36.    In recent years, federal courts have overturned another insidious form of voting

discrimination in Texas in the form of redistricting efforts. In 2006, the U.S. Supreme Court

invalidated Texas’s 2003 congressional redistricting plan, ruling the plan “b[ore] the mark of

intentional discrimination” against Latinos. 17 In 2012, a federal court held Texas acted with

discriminatory purpose or effect and denied preclearance to the state’s 2011 state legislative and

congressional maps under Section 5 of the VRA.18 A second federal court also concluded that

Texas intentionally discriminated against Latino and Black voters with its 2011 congressional and

state legislative plans in violation of the VRA and the U.S. Constitution.19

          37.    In addition to discriminatorily redistricting, Texas has adopted other illegal

measures to suppress minority participation in elections. In 2016, the Fifth Circuit affirmed a

district court’s decision that Texas’s photo voter identification law, S.B. 14, had a discriminatory



17
   League of United Latin American Citizens v. Perry, 548 U.S. 399, 440 (2006). In its reasoning,
the Supreme Court noted that Texas “took away [] Latinos’ [electoral] opportunity because Latinos
were about to exercise it . . . The State not only made fruitless the Latinos’ mobilization efforts but
also acted against those Latinos who were becoming most politically active.” Id. Texas thus
“undermined the progress of a racial group that has been subject to significant voting-related
discrimination and that was becoming increasingly politically active and cohesive.” Id. at 439.
18
     Texas v. United States, 887 F.Supp.2d 133 (D.D.C. 2012).
19
     Perez v. Abbott, 390 F. Supp. 3d 803, 816 (W.D. Tex. 2019).


                                                  13
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effect on Latino and Black Texans’ rights in violation of Section 2 of the VRA.20 The district

court observed:

                   [S.B.] 14’s voter I.D. requirements interact with social and historical
                   conditions in Texas to cause an inequality in the electoral
                   opportunities enjoyed by African-Americans and Hispanic voters as
                   compared to Anglo voters. In other words, [S.B.] 14 does not
                   disproportionately impact African-Americans and Hispanics by
                   mere chance. Rather, it does so by its interaction with the vestiges
                   of past and current racial discrimination.21

As a result of this litigation, the Texas Legislature later replaced S.B. 14.22 Although that new law

has survived legal challenge, this does not erase the judgment of the Court of Appeals that the

Texas Legislature adopted measures that had a discriminatory effect on Texans of color, in

violation of federal voting-rights laws.23

          38.      In 2019, Secretary of State David Whitley attempted to purge Texas’s voter rolls

by falsely alleging that nearly 100,000 “non-citizens” were illegally registered to vote. In fact,

many of these alleged “non-citizens” were Latino naturalized U.S. citizens properly registered to

vote. The data underpinning the proposed voter purge, however, did not show voters’ current

citizenship status, which the Secretary of State knew before attempting to remove 100,000 eligible

voters from the voter rolls.24 A federal district court enjoined the purge, but not before counties

sent “ham-handed and threatening correspondence from the state which did not politely ask for



20
     Veasey v. Abbott, 830 F.3d 216, 265 (5th Cir. 2016).
21
     Veasey v. Perry, 71 F.Supp.3d 627, 698 (S.D. Tex. 2014) (emphasis added).
22
     See Veasey v. Abbott, 888 F.3d 792, 797 (5th Cir. 2018).
23
     See id.
24
  Alexa Ura, Texas Will End Its Botched Voter Citizenship Review and Rescind Its List of Flagged
Voters, THE TEXAS TRIBUNE (April 26, 2019), https://www.texastribune.org/2019/04/26/texas-
voting-rights-groups-win-settlement-secretary-of-state/.


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information but rather exemplifie[d] the power of government to strike fear and anxiety and to

intimidate the least powerful among us.”25

B.         Before SB1, Texas was already among the states that made it hardest to vote.

           39.   Texas voting procedures are among the most onerous in the country. 26 For

example, Texas has “reduced the number of polling stations in some parts of the state by more

than 50% and has the most restrictive pre-registration law in the country.”27

           40.   Although most states allow voting by mail without some special showing,28 Texas

reserves mail voting only for individuals who (a) are 65 or older; (b) are sick or disabled; (c) will

be out of the county during the entire election period (early voting and election day); or (d) are

confined to jail but otherwise eligible to vote.29

           41.   Unsurprisingly, Texas’s election laws yield one of the nation’s lowest voter turnout

rates; the state’s turnout rate trailed the national average in 2016, 2018, and 2020 (even after

factoring in the state’s relative successes in 2018 and 2020 described below).30


25
  Texas League of United Latin Am. Citizens v. Whitley, No. SA-19-CA-074-FB, 2019 WL
7938511, at *1 (W.D. Tex. Feb. 27, 2019).
26
  Ross Ramsey, Analysis: It’s harder to vote in Texas than in any other state, THE TEXAS TRIBUNE
(Oct. 19, 2020), https://www.texastribune.org/2020/10/19/texas-voting-elections/.
27
     Id.
28
   NATIONAL CONFERENCE OF STATE LEGISLATURES, VOPP: Table 1: States with No-Excuse
Absentee Voting (May 1, 2021), https://www.ncsl.org/research/elections-and-campaigns/vopp-
table-1-states-with-no-excuse-absentee-voting.aspx.
29
     TEX. ELEC. CODE §§ 82.001–82.004 (2020).
30
  U.S. CENSUS BUREAU, Voting and Registration in the Election of November 2016 (May 2017),
Table 4b, https://www.census.gov/data/tables/time-series/demo/voting-and-registration/p20-
580.html; U.S. CENSUS BUREAU, Voting and Registration in the Election of November 2018 (April
2019),       Table     4b,     https://www.census.gov/data/tables/time-series/demo/voting-and-
registration/p20-583.html; U.S. CENSUS BUREAU, Voting and Registration in the Election of
November 2020 (April 2021), Table 4b, https://www.census.gov/data/tables/time-
series/demo/voting-and-registration/p20-585.html.


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C.     The 2020 General Election tested Texas voters in unprecedented ways—and Texans
       passed with flying colors.

       42.     Leading up to the 2020 General Election, Texas voters began to increase their

turnout dramatically.   In the 2018 mid-term election, Texas voter turnout increased by 18

percentage points compared with the previous midterms. Texas Latinos increased their vote share

by about five percentage points—from 14.4% to 19.1% of all votes cast (compared to the 2014

midterm election). As a result, Texas Latinos cast 922,146 more votes in the 2018 General

Election than the 2014 General Election.

       43.     In the 2020 election, Texas again achieved record voter turnout, with Texans

casting 11,315,056 total votes in the 2020 general election31 in spite of the COVID-19 pandemic

that has killed tens of thousands in the state. A total of 66.73% of Texas’s registered voters cast

ballots—the highest voter turnout for any election since 1992 and more than 7% higher than

Texans’ 2016 General Election turnout.32

       44.     In the 2020 election officials and poll workers faced unprecedented obstacles as

well as new threats to their health and safety. Not only were they tasked with operating polling

places during a pandemic, but they also faced threats and harassment from members of the public

spurred on by conspiracy theories.33 These threats were particularly unsettling to communities of




31
   TEX. SEC’Y OF STATE, Texas Election Results: 2020 November 3rd General Election,
https://results.texas-election.com/races (last visited Sep. 1, 2021).
32
     TEX.    SEC’Y     OF     STATE,      Turnout     and      Voter      Registration    Figures,
https://www.sos.texas.gov/elections/historical/70-92.shtml (last visited Sep. 1, 2021).
33
   See, e.g., Michael Wines, Here Are the Threats Terrorizing Election Workers, N.Y. TIMES (Dec.
3, 2020), https://www.nytimes.com/2020/12/03/us/election-officials-threats-trump.html.


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color. In the face of these threats, Texas election officials struggled to find enough poll workers

to do the job in 2020.34

           45.     In 2020, the Latino turnout rate jumped to 56.45%; Latino votes constituted more

than one-fifth of all votes cast in the 2020 General Election. According to Census estimates,

turnout among Asian-American voters increased by 15% and turnout among Black voters in Texas

increased by more than 10%.

           46.     The strong 2020 voter turnout was due in part to efforts by public officials

throughout the State of Texas to make voting more accessible.              Community-based civic

engagement and faith-based groups such as Plaintiff organizations also played a role in educating

voters and encouraging them to cast lawful ballots.

           47.     In May 2020, Secretary of State Ruth Hughes released a checklist of health

protocols for voters and election officials.35 For voters, the guidance suggested maintaining six

feet of distance where possible and recommended that voters exhibiting symptoms of COVID-19

“consider utilizing curbside voting” if they met eligibility requirements.36

           48.     The guidance also referenced the right of voters to rely on the aid of voting

assistants (including interpreters).37




34
  John Engel, Central Texas Election Officials Confront Nationwide Shortage of Poll Workers,
KXAN (Sep. 11, 2020), https://www.kxan.com/news/your-local-election-hq/central-texas-
election-officials-confront-nationwide-shortage-of-poll-workers/.
35
        TEX.      SEC’Y       OF       STATE,      Health       Protocols       for      voters,
https://www.sos.texas.gov/elections/forms/health-protocols-for-voters.pdf (last visited Sept. 2,
2021).
36
     Id. at 2.
37
     Id. at 3, 7



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       49.       On July 27, 2020, Defendant Abbott issued a proclamation extending the early

voting period in light of the COVID-19 pandemic and suspending the restriction in Texas Election

Code § 86.006 that only allowed in-person delivery of ballots on Election Day.38

       50.       Local election officials across the state developed creative ways to make traditional

voting methods more accessible, including extended voting hours and additional mail ballot drop-

off locations.

       51.       Some large counties, including Harris and Bexar counties, extended voting hours

at in-person polling locations. Harris County implemented 24-hour voting for one night during

the early voting period.39 Bexar County kept polling places open until 10:00 p.m. for several days

during the early voting period to accommodate additional voters. 40 Certain counties also

encouraged eligible voters to apply for mail ballots and to do so early.

       52.       In addition to expanding traditional in-person and mail-in voting, election officials

in some counties created new, safe ways to vote. Harris County, for example, opened drive-thru

voting sites, which were used by almost 127,000 early voters in the county.41



38
  OFFICE OF THE TEX. GOVERNOR, Governor Abbott Issues Proclamation Extending Early Voting
Period for November 3rd Election (Jul. 27, 2020), https://gov.texas.gov/news/post/governor-
abbott-issues-proclamation-extending-early-voting-period-for-november-3rd-election.
39
   Alexa Ura, Here’s How Texas Elections Would Change, and Become More Restrictive, Under
the Bill Texas Republicans are Pushing, TEX. TRIB. (Apr. 21, 2021),
https://www.texastribune.org/2021/04/21/texas-voting-restrictions-senate-bill-7/.
40
  David Lynch, Bexar County’s Early Voting Locations Staying Open Later this Week, KENS5
(Oct. 27, 2020), https://www.kens5.com/article/news/politics/elections/bexar-countys-early-
voting-locations-staying-open-later-this-week/273-c7e85454-46c8-4d7b-a048-85f306fc8281.
41
  Ten percent (10%) of Harris County’s in-person early voters (approximately 127,000 voters)
took advantage of drive-thru voting. Jolie McCullough, Nearly 127,000 Harris County Drive-Thru
Votes Appear Safe after Federal Judge Rejects GOP-Led Texas Lawsuit, TEX. TRIB. (Nov. 2,
2020), https://www.texastribune.org/2020/11/02/texas-drive-thru-votes-harris-county/.



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          53.     Texas voters also sought mail ballots in record numbers. For example, the Travis

County Clerk’s office received requests from 65,678 people before September 30, 2020. By

comparison, only 27,000 mail ballots were mailed out in the 2016 election.42

          54.     However, as voters sought to protect their health during the pandemic by voting by

mail, Defendants Governor Abbott and Attorney General Paxton responded by imposing obstacles

that limited exercise of the franchise. For instance, Governor Abbott issued a proclamation on

October 1, 2020, that arbitrarily limited mail ballot drop-off locations to one per county regardless

of physical size or population.43 Attorney General Paxton filed suit against the Harris County

Clerk to prevent him from mailing out mail ballot applications to many eligible voters unless those

voters first submitted a request.44

D.        Following a historically successful election, some Texas politicians made baseless
          allegations of cheating.

          55.     By official accounts, Texas’s 2020 General Election was a resounding success. The

Texas Secretary of State’s office reassured the public that Texas had a “smooth and secure”

election in 2020.45




42
  Russell Falcon, Travis County Voters can Request a Mail Ballot until Oct. 23, KXAN (Sept. 30,
2020), https://www.kxan.com/news/your-local-election-hq/travis-county-voters-can-request-a-
mail-in-ballot-until-oct-23/.
43
  OFFICE OF THE TEX. GOVERNOR, Governor Abbott Issues Proclamation Enhancing Ballot
Security (Oct. 1, 2020), https://gov.texas.gov/news/post/governor-abbott-issues-proclamation-
enhancing-ballot-security.
44
  OFFICE OF THE ATTORNEY GENERAL OF TEX., AG Paxton Sues Harris County Clerk to Prevent
Him from Unlawfully Sending Out Millions of Unsolicited Mail-In Ballot Applications (Aug. 31,
2020), https://www.texasattorneygeneral.gov/news/releases/ag-paxton-sues-harris-county-clerk-
prevent-him-unlawfully-sending-out-millions-unsolicited-mail.
45
     Goldenstein et al., supra note 1.



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       56.     Governor Abbott nonetheless announced that “election integrity” would be an

“emergency item” for the Texas Legislature’s 2021 term, claiming that “[i]n the 2020 election, we

witnessed actions throughout our state that could risk the integrity of our elections and enable voter

fraud.”46 But Governor Abbott has struggled to identify examples of such actions or to identify

people who witnessed them.47

       57.     Tellingly, there were only 23 total voter fraud complaints filed in Texas in 2020.48

And, although Attorney General Paxton’s office has spent 22,000 staff hours investigating voter

fraud in the 2020 Election, he has identified only 16 minor offenses out of more than 11,000,000

ballots cast. 49 That means about 99.999% of ballots were cast untainted by so much as an

allegation—let alone any proof—of fraud.

       58.     There is no evidence of widespread voter fraud in the 2020 election (or other

elections in Texas for that matter). Nor is there evidence that there is a substantial risk of fraud in

future elections that Texas’s already-restrictive voting laws did not previously address.




46
   OFFICE OF THE TEX. GOVERNOR, Governor Abbot Delivers 2021 State of the State Address, (Feb.
1,    2021),    https://gov.texas.gov/news/post/governor-abbott-delivers-2021-state-of-the-state-
address; OFFICE OF THE TEX. GOVERNOR, Governor Abbott Holds Press Conference on Election
Integrity Legislation, (Mar. 15, 2021), https://gov.texas.gov/news/post/governor-abbott-holds-
press-conference-on-election-integrity-legislation.
47
   Alexa Ura, Gov. Greg Abbott Formally Opens Texas GOP Bid to Clamp Down on Local Efforts
Expanding        Voter       Access,       TEX.       TRIB.        (Mar. 15,       2021),
https://www.texastribune.org/2021/03/15/texas-voting-greg-abbott/.
48
   Jeremy Rogalski, Despite National Outcry, Texas Received Relatively Few Voting Fraud
Reports        this        Election,        KHOU-11            (Nov.         20,        2020),
https://www.khou.com/article/news/investigations/texas-received-few-voting-fraud-reports/285-
deec7c9a-581b-42b1-b430-4cae7aef5f26.
49
  Taylor Goldenstein, Fact Checking Texas Lawmaker’s Claim of 400 Voter Fraud ‘Cases’,
HOUSTON CHRONICLE (Apr. 12, 2021), https://www.houstonchronicle.com/politics/texas/article/
Fact-checking-Texas-lawmaker-s-claim-of-400-16095858.php.


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E.     The Texas Legislature takes up anti-voter legislation.

       59.     Against this backdrop of a successful and untainted election in Texas, the Texas

Legislature began its determined effort to restrict voting in the name of “election integrity.”50

       60.     On March 11, 2021, Texas Senator Bryan Hughes introduced Senate Bill 7 (“SB7”)

in the Texas Legislature as a sweeping so-called “voting integrity” bill. Although SB7 ultimately

did not succeed, SB1 contains many of the same restrictions designed to intimidate and discourage

Texas voters and, in particular, Texas’s minority voters.

       61.     SB1 (also introduced by Senator Hughes) was heard before the Senate State Affairs

Committee on August 9, 2021, and voted out of committee that same day. SB1 passed the Senate

in the early morning of August 12, 2021 on a party-line vote, following a 15-hour filibuster by

Senator Carol Alvarado.

       62.     SB1 was heard before the House Select Committee on Constitutional Rights and

Remedies on August 23, 2021. During the hearing, the Committee Chair permitted two witnesses

to testify virtually without calling a vote to authorize virtual testimony or alerting the public that

such testimony would be permitted. At that time Texas was facing a surge of COVID-19 cases

which discouraged in-person public participation in the hearing. The Committee passed SB1 that

same day.

       63.     The House debated SB1 on August 26, 2021, and adopted seventeen amendments

to the bill. The House passed SB1 on August 27, 2021.




50
   See HERITAGE ACTION FOR AMERICA, Heritage Action Launches Election Integrity Campaign,
Commits Over $10 Million (Mar. 8, 2021), https://heritageaction.com/press/heritage-action-
launches-election-integrity-campaign-commits-over-10-million; HERITAGE FOUNDATION, The
Facts About Election Integrity and the Need for States to Fix Their Election Systems (Feb. 1, 2021),
https://www.heritage.org/election-integrity-facts.

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        64.      The House and Senate convened a conference committee, which issued its report

to each chamber on August 30, 2021.

        65.      The Senate and the House both passed the SB1 conference committee report on

August 31, 2021, and the Legislature sent SB1 to the Governor for his signature on September 1,

2021.

F.      SB1 imposes burdens that will discourage, intimidate and deter eligible Texas
        voters, and will disproportionately impact voters of color and voters with
        disabilities.

        66.      The Texas Legislature’s claims of voter fraud and voter integrity are merely

pretexts for their actual purpose in enacting SB1, which is to make it harder for citizens of color

and citizens with disabilities to cast their votes. SB1 intentionally discriminates on the basis of

race and national origin and is consistent with Texas’ longstanding efforts to discriminate against

citizens of color in Texas.

        1.       SB1 restricts the ability of eligible Texans, including voters who have limited
                 English proficiency, disabilities, and less formal education, to access voter
                 assistance.

        67.      As Representative Bernal testified before Congress, “[t]here are no cases of voter

fraud relating to voter assistance.”51

        68.      SB1 nonetheless targets eligible voters who vote with assistance, including voters

who have limited English proficiency, disabilities, and/or less formal education. The law’s

restrictions on voter assistance will deprive many voters of their right to choose their assistors,

which will discourage and ultimately depress voter participation and have a particularly negative



51
  HOUSE COMMITTEE ON OVERSIGHT & REFORM, Democracy in Danger: The Assault on Voting
Rights in Texas (July 29, 2021), https://oversight.house.gov/legislation/hearings/democracy-in-
danger-the-assault-on-voting-rights-in-texas.



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impact on Latino and Asian American voters. Section 6.04 of SB1 also limits the type of assistance

that a voter can receive to “reading the ballot to the voter, directing the voter to read the ballot,

marking the voter’s ballot, or directing the voter to mark the ballot.”52 As a result, many eligible

voters will not receive the assistance to which they are entitled, which will impede their ability to

vote or result in avoidable error on their ballots. In addition, individuals who assist voters will be

deterred and prevented from providing assistance by the new restrictions and penalties in SB1.

         69.    According to data collected pursuant to Section 203 of the Voting Rights Act,53

more than 277,000 voting-age U.S. citizens with limited English proficiency live in a Texas county

that is not required to provide materials in their primary language.             These citizens are

disproportionately Asian American and Latino.

         70.    The Centers for Disease Control and Prevention estimates that 28% of adults in

Texas have a disability.54 These Texans are disproportionately Black, representing more than 21%

of all Texans with a disability, but only 13% of the overall population.

         71.    SB1 imposes at least four new restrictions on assistance for voters.

         72.    First, SB1 alters the oath that an assistor must take before providing assistance to a

voter. The revised language is both more onerous and more intimidating.




52
  S.B. 1 § 7.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE §
64.034).
53
     52 U.S.C. § 10503.
54
  Centers for Disease Control and Prevention, Disability and Health U.S. State Profile Data for
Texas, last updated June 28, 2021, https://www.cdc.gov/ncbddd/disabilityandhealth/impacts/
texas.html.


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           73.   Under Section 6.04 of SB1, an assistor must now swear that the voter “represented

to [them] they are eligible to receive assistance.”55 This effectively requires the assistor to obtain

from the voter a statement of eligibility for voter assistance. Because one’s eligibility for voter

assistance necessarily turns on personal and/or medical background and information, this

requirement will invade the privacy of and deter voters who need assistance. It will further deter

individuals from serving as assistors out of fear of criminal prosecution for failing to secure the

appropriate “representation” of eligibility from voters.

           74.   The assistor’s oath must be made “under penalty of perjury” and the assistor must

swear “I understand that if assistance is provided to a voter who is not eligible for assistance, the

voter’s ballot may not be counted.”56 This additional language will cause assistors to question

every voter’s “need” for assistance, which further invades the voter’s privacy and opens assistors

to the threat of prosecution for any misstep.

           75.   An assistor must also swear that they did not “pressure” the voter to choose them

as the assistor.57 This requirement will deter assistors from helping or even volunteering to help

voters out of fear that the assistor may be perceived as pressuring their selection as assistors. This

will deprive voters of access to their chosen assistors. Indeed, on its face, this provision will

deprive voters of assistance from the person most likely to provide it—i.e., a person who

encourages the voter to seek assistance. Second, in addition to the oath, Section 6.03 of SB1

requires assistors to fill out a form stating the assistor’s “relationship to the voter,” and whether


55
  S.B. 1 § 6.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE §
64.034).
56
     Id.
57
     Id.



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the assistor “received or accepted any form of compensation or other benefit from a candidate,

campaign, or political committee.”58 With respect to voting by mail, Section 6.05 of SB1 requires

assistors to fill out additional information on the mail ballot carrier envelope.           This new

requirement for information will deter assistors and increase the risk that the ballot will be rejected

because the assistor made a clerical error.

       76.     Together with Section 6.04, these new requirements will slow in-person voting and

burden the right to vote of those seeking assistance, as each voter’s assistor must take time to both

complete a form and recite an oath.

       77.     Third, Section 6.06 of SB1 makes it a crime to compensate (or offer, solicit, or

receive compensation for) assistance to mail voters. This prohibits assistors who work for non-

profit civic engagement organizations and who conduct voter outreach from assisting mail voters.59

It will also likely deter many other assistors who fear prosecution because the section defines

“compensation” to mean any “economic benefit.”

       78.     Finally, Section 6.01 of SB1 discourages voter assistance by imposing limitations

on transportation to the polls.       Any individual other than a close relative who provides

transportation to the polls to seven or more voters must complete and sign a form that contains the

driver’s name and address and state whether the driver is providing only transportation assistance

or is also providing assistance with voting.60 SB1 provides that the form shall be delivered to the


58
  S.B. 1 § 6.03, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 64.0322(a)).
59
  S.B. 1 § 6.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 86.0105); TEX. PENAL CODE § 12.35.
60
  S.B. 1 § 6.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§§ 64.009(f), (f-1)).



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Secretary of State and retained as an election record available to the Attorney General for

inspection upon request.61 Even though giving rides to seven or more voters is not illegal, this

requirement will deter individuals from giving these rides, further reducing access to voting for

voters who need assistance and depriving them of assistance by their chosen assistors. In addition,

poll watchers are expressly permitted to observe “any activity conducted under this section,” which

will further deter voter assistance by invading the privacy of voters who receive assistance.62

          79.      As a result of these provisions, voters eligible for assistance will be deprived of

assistance and assistors will be deterred from and denied the opportunity to assist voters.

          2.       SB1 opens the door to intimidation and misconduct at the polls by tying the
                   hands of poll workers, election officials and election judges.

          80.      The ability of poll workers, election officials and election judges to effectively

control and (if necessary) remove poll watchers who are unruly or are violating the law is critical

to protecting the right to vote.

          81.      In 2009, a group of predominantly white volunteers known as the “King Street

Patriots” went to polling stations in minority neighborhoods in Harris County and interfered with

voting. In 2010, a poll watcher in Harris County stood directly behind and hovered over voters.

An election judge requested that the overzealous poll watcher step back, but the watcher

responded, “I have the right to stand wherever I want!” In 2020, individuals in militia gear were

gathered near an early voting location in Fort Worth. In Travis County, a poll watcher was arrested

after attempting to record activities during early voting with a hidden camera on her clothing. In

a 2021 training for poll watchers, an individual with the Harris County Republican Party, with a



61
     Id. (to be codified at TEX. ELEC. CODE § 64.009(g)).
62
     Id. (to be codified at TEX. ELEC. CODE § 64.009(e)).


                                                   26
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stated goal of recruiting an “army” of watchers, argued that poll watchers from specific areas of

Harris County must “have the confidence and courage” to act as poll watchers in the areas “where

the fraud is occurring.” The areas that the individual referenced when describing where poll

watchers were coming from are suburban areas that are predominantly white. The areas that the

individual claimed were “where the fraud is occurring” are neighborhoods that are predominantly

inhabited by people of color in Houston.

         82.    SB1 makes the work of election workers even harder by loosening restrictions on

poll watchers and at the same time limiting poll workers’ ability to carry out their duty of

“preserv[ing] order and prevent[ing] breaches of the peace and violations of [the election] code in

the polling place.”63

         83.    First, SB1 limits the ability of election officials and election judges to manage

unruly poll watchers. Section 4.06 of SB1 creates a new criminal offense—making it a Class A

misdemeanor for an election officer to “intentionally or knowingly refuse[] to accept a watcher for

service when acceptance of the watcher is required by this section.”64 This provision effectively

criminalizes refusing to accept a poll watcher even if the polling place official is reasonably

concerned that the watcher will be unruly or will actually intimidate voters.

         84.    Section 4.01 also prohibits “[a] presiding judge” from having a poll watcher

“removed from the polling place” for “violating a provision of this code or any other provision of

law relating to the conduct of elections, other than a violation of the Penal Code,” unless the




63
     TEX. ELEC. CODE § 32.075(a).
64
  S.B. 1 § 4.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 33.051(g), (h)).


                                                27
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election judge or a clerk personally observed the violation.65 SB1 thus allows poll watchers to

avoid being removed from a polling place, even after they violate the Election Code, and if there

were dozens of witnesses as long as the election judge or clerk were not among them.

       85.     Second, Section 4.07 of SB1 guarantees poll watchers the right to “free movement

where election activity is occurring within the location at which the watcher is serving.”66 In other

words, even though the Texas Election Code already allows poll watchers to sit in a convenient

location and report any activity that concerned them, under SB1, poll watchers can essentially go

wherever they please within a polling place, even if their presence intimidates those present.

       86.     Third, Section 4.09 of SB1 adds that the existing offense of “knowingly

prevent[ing] a watcher from observing an activity or procedure” now specifically includes “taking

any action to obstruct the view of a watcher or distance the watcher from the activity or procedure

to be observed in a manner that would make observation not reasonably effective.”67 There is no

protection for poll workers taking routine actions of election administration that by chance obstruct

the view of a poll watcher, provided such actions were taken “knowingly.” Similarly, there is no

protection for poll workers who position themselves between a voter and a disruptive watcher in

order to protect the privacy of the voter.

       87.     Fourth, Section 4.10 of SB1 allows the parties and candidates that appoint poll

watchers to seek injunctive, mandamus, or “any other remedy available under law” whenever they



65
  S.B. 1 § 4.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 32.075(g)).
66
  S.B. 1 § 4.07, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 33.056(e)).
67
  S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 33.061(a) (emphasis added)).


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“believe[] that the watcher was unlawfully prevented or obstructed from the performance of the

watcher’s duties.”68

       88.     Together, these provisions will intimidate election officials into allowing poll

watchers to roam around the polling place and stand uncomfortably close to voters. Permitting

poll watchers to stand over voters, make disruptive noises, and hawkishly observe voting activities

is designed to, and will, have a chilling and intimidating effect on Texas voters, particularly voters

in historically marginalized groups.

       89.     SB1’s new definition of poll watcher obstruction also is unconstitutionally vague.

Under the revised Section 4.09, it may be unlawful for an election worker to take “any action” (no

matter how small) if it renders “observation not reasonably effective.”69

       90.     The phrase “not reasonably effective” is not defined in SB1 or elsewhere in the

Texas Elections Code. SB1 provides no guidance as to what makes a watcher’s observation

activities “reasonably effective” or when routine actions of election administration unlawfully

reduce the “effectiveness” of a watcher’s observation. Thus, the statute provides no objective

standard for conduct that could “obstruct the view of a watcher” in a manner proscribed thereby—

clearing a pathway for arbitrary application.70

       91.     This ambiguity deprives Plaintiff Lewin and other election workers of reasonable

notice of how to comply with the law and avoid severe jail time or fines.




68
  S.B. 1 § 4.10, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 33.063).
69
  Compare Tex. Elec. Code § 33.061(a) (2020) with S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess.
(Tex. 2021) (to be codified at TEX. ELEC. CODE § 33.061(a)).
70
  S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 33.061(a) (2021).

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       92.      This ambiguity will further deter Texans from becoming poll workers, augmenting

the struggles Plaintiff Longoria and other election officials already face to staff each polling

location.

       93.      Ultimately the burdens imposed by SB1 will fall on voters, particularly voters of

color. Should poll watchers engage in behavior that intimidates or harasses voters or election

workers, including hovering over them or trailing voters through the polling place, election

workers run the risk of criminal prosecution if they attempt to stop such behavior. The risk of such

intimidation has historically been and will continue to be higher for voters of color.

       3.       SB1 prohibits voting procedures that facilitated record voter participation in
                2020, despite no evidence that these measures contribute to voter fraud.

       94.      Several important accommodations that local officials in large, diverse counties

adopted to ensure safe, secure voting during the 2020 Election in light of the COVID-19 pandemic

are outlawed or undermined by SB1.

       95.      For example, during the 2020 Election, Harris County’s 24-hour voting allowed

more than 10,000 Harris County voters to cast ballots overnight.71 But Sections 3.09 and 3.10 of

SB1 prohibit future efforts to increase access to the polls by requiring early voting clerks to restrict

voting hours to between 6:00 a.m. and 10:00 p.m. on weekdays and the last Saturday of the early

voting period, and to between 9:00 a.m. and 10:00 p.m. on the last Sunday of the early voting

period.72




71
  Peter Holley, Meet the Harris County Voters Who Showed Up After Midnight to Cast a Ballot,
Tex. Monthly (Oct. 30, 2020), https://www.texasmonthly.com/news-politics/harris-county-24-
hour-voting/.
72
 S.B. 1 §§ 3.09, 3.10, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC.
CODE §§ 85.005(a), 85.006(e)).



                                                  30
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       96.     SB1 also effectively prohibits local election officials from providing drive-thru

voting—like Harris County did in 2020—despite the lack of any evidence to suggest a link

between more convenient voting hours and fraud or irregularities of any kind.73

       97.     In particular, Sections 3.04, 3.12 and 3.13 of SB1 require polling places and early

voting sites to be located “inside” buildings.74 Section 3.04 also expressly prohibits voting “from

inside a motor vehicle” unless the voter meets other requirements.75 Further, except in the case of

a natural disaster, “[a] polling place may not be located in a movable structure ….”76

       98.     Section 5.01 also requires that applications for mail ballots be signed “using ink on

paper” and not by “[a]n electronic signature or photocopied signature.” 77 This provision

artificially limits the ability of community organizers such as Plaintiffs to canvass voters who are




73
   Notably, following the success of Harris County’s drive-thru voting program, a bipartisan task
force of local Harris County officials released a report stating that the task force had not found
“proof of any election tampering, ballot harvesting, voter suppression, intimidation or any other
type of foul play that might have impacted the legitimate cast or count of a ballot.” Alan Rosen et
al., Harris County Election Security Task Force Final Productivity Report, p. 8 (Dec. 17, 2020),
available                                                                                        at
https://www.dropbox.com/s/7mzy6aws7fnzvy9/Elections%20Security%20Task%20Force%20fin
al%20report%20PUBLC%20FINAL%2012-17-20%20442p.pdf?dl=0 (last accessed Sep. 1,
2021).
74
  See S.B. 1 §§ 3.04, 3.12, 3.13, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at
TEX. ELEC. CODE §§ 43.031; 85.061(a) (adding that an early voting location “shall be located
inside each branch office” and not in a tent) (emphasis added), 85.062, respectively).
75
  S.B. 1 § 3.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§§ 43.031(b)); S.B. 1 § 6.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX.
ELEC. CODE § 64.009).
76
   See S.B. 1 § 3.13, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§85.062); see also S.B. 1 §§ 3.04, 3.11, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified
at § 43.031, 85.061(a), respectively).
77
  See S.B. 1 § 5.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 84.001(b)).



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eligible to vote by mail at their homes and to help these voters apply for mail ballots using iPads

or other tablets.

          99.    SB1’s additional requirements for mail ballots increase the likelihood that ballots

submitted by eligible voters will be rejected based on a technicality. Sections 5.07 and 5.13 require

a clerk to reject any mail ballot or mail ballot application if the required information “does not

identify the same voter identified on the applicant’s application for voter registration ….”78 This

would require election clerks to reject otherwise valid mail ballots and mail ballot applications

from voters eligible to vote by mail where, for example, the voter inadvertently omits their voter

ID number or other required information, even when the clerk can verify the voter’s application or

mail ballot envelope through other means.

          100.   SB1 also prohibits outreach by election officials to eligible mail-in voters.

Section 5.04 prohibits “an officer or employee of this state or of a political subdivision of this

state” from distributing “an application form for an early voting ballot to a person who did not

request an application ….”79 Section 5.04 prohibits the use of public funds to facilitate third-party

distribution of mail ballot application forms to any person who did not request one.80 “A political

party or candidate for office,” however, “may distribute an application form for an early voting

ballot to a person who did not request an application ….”81 These provisions restrict the outreach




78
  See S.B. 1 §§ 5.07, 5.13, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at Tex. Elec.
Code §§ 86.001(f), 87.041(b)(8), respectively).
79
  See S.B. 1 § 5.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 84.0111(a).
80
     See id. (to be codified at TEX. ELEC. CODE § 84.0111(b)).
81
     See id. (to be codified at TEX. ELEC. CODE § 84.0111(c)).


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activities of public officials (while preserving them for partisan operatives) and will reduce access

to mail voting for voters who are interested in voting and are in fact eligible to vote by mail.

          101.   SB1 goes further by criminalizing the solicitation and distribution of mail ballot

applications. Under SB1 Section 7.04, it is a state jail felony for “a public official or election

official” to (1) “solicit[] the submission of an application to vote by mail from a person who did

not request an application”; (2) “distribute[] an application to vote by mail to a person who did not

request the application” unless expressly authorized; (3) “authorize[] or approve[] the expenditure

of public funds to facilitate third-party distribution … to a person who did not request the

application”; or (4) “complete[] any portion of the application to vote by mail and distributes the

application to an applicant.”82

          102.   Section 7.04 also makes it a Class A misdemeanor for the early voting clerk or

another election official to “knowingly mail[] or otherwise provide[] an early voting by mail ballot

materials to a person who the clerk or official knows did not submit an application for a ballot to

be voted by mail ….”83 These added criminal penalties criminalize speech by election officials

encouraging mail voting by eligible voters, will further restrict access to mail voting for voters

who are interested in voting and are in fact eligible to vote by mail, and could subject election

officials and early voting clerks to the risk of criminal prosecution for clerical errors or good-faith

mistakes.




82
  See S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 276.016).
83
     See id. (to be codified at TEX. ELEC. CODE § 276.017).


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          4.       SB1 criminalizes otherwise lawful voter assistance by community-based non-
                   partisan organizations through vague “vote harvesting” prohibitions.

          103.     SB1 takes aim at community-based organizations that conduct non-partisan voter

turnout activities and criminalizes these activities under the label “vote harvesting.”

          104.     SB1 defines “vote harvesting services” as “in-person interaction with one or more

voters, in the physical presence of an official ballot or a ballot voted by mail, intended to deliver

votes for a specific candidate or measure.”84

          105.     Under Section 7.04 of SB1, a person commits an offense if he or she (a) “directly

or through a third party, knowingly provides or offers to provide vote harvesting services in

exchange for compensation or other benefit;” (b) “directly or through a third party, knowingly

provides or offers to provide compensation or other benefit to another person in exchange for vote

harvesting services;” or (c) “knowingly collects or possesses a mail ballot or official carrier

envelope in connection with vote harvesting services.”85 Any violation is a third-degree felony,

subject to a minimum of two years (and up to ten years) of jail time and a fine of up to $10,000.86

          106.     In fact, because Section 7.04 of SB1 does not define “in-person interaction,” the

statute does not limit the broad range of daily interactions that could come within the statute’s

prohibitions.87 SB1 on its face reaches pure speech, including political speech, so long as it is part

of an “in-person interaction” somehow “in the physical presence of” a ballot or a mail ballot, and

the speech is made with the intent to “deliver votes for a specific candidate or measure.”



84
     Id. (to be codified at TEX. ELEC. CODE § 276.015(a)(2) (emphasis added)).
85
     Id. (to be codified at TEX. ELEC. CODE § 276.015(b)–(d)).
86
     Id. (to be codified at TEX. ELEC. CODE § 276.015(f)); TEX. PENAL CODE § 12.34.
87
  S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX ELEC. CODE
§ 276.015(a)(2)).


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          107.   Although SB1 requires a person to receive “compensation or other benefit” for a

violation, the range of what could constitute “compensation or other benefit” is impossible for the

average citizen to determine. Section 7.04 of SB1 defines “benefit” to mean “anything reasonably

regarded as a gain or advantage,” no matter how minor, thus providing little guidance and little

constraint on prosecutorial discretion.88

          108.   This vague offense will chill even ordinary interactions between family members.

For example, if a wife is a paid campaign worker for a local school bond issue and encourages her

husband during dinner to support the local school bond issue when he casts his mail ballot while

the mail ballot happens to be in the same room, then she could be found to have knowingly

(i) interacted in-person with a voter (i.e., her husband), (ii) in the presence of his mail ballot, (iii)

with intent to “deliver a vote” for the measure she supports (i.e., by supporting her choice on the

measure), and (iv) received compensation from a campaign, sufficient to constitute

“compensation” (i.e., her salary) under the inference set forth in Section 6.03. Similarly, an

employee of any of a wide array of civic engagement organizations, including the Plaintiff

organizations, could potentially be prosecuted under this provision by canvassing for a local

measure (such as infrastructure improvements) and assisting a mail voter who invites her into the

house and requests help voting.

          109.   As a result of these unusual provisions, SB1 will reduce voter participation by

Texans who rely on assistance to cast their mail ballots. Although these restrictions have the

potential to burden all Texas voters, they will impose the greatest burdens on voters of color,

language minority voters, elderly voters, low-income voters, and voters with disabilities.




88
     Id. (to be codified at TEX. ELEC. CODE § 276.015(a)(1)); see also TEX. PENAL CODE § 1.07(a)(7).

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       5.       SB1’s signature requirement burdens the rights of voters with disabilities.

       110.     In addition to restricting voter assistance in the ways described above, SB1 also

makes it easier for election officials to reject a voter’s mail ballot based on a perceived signature

mismatch, which is likely to affect voters with disabilities and elderly voters.

       111.     Under Section 5.11, in determining whether to count the ballot, the “signature

verification committee” can now compare a voter’s signature on the carrier envelope to “any

known signature” on file with the county clerk or voter registrar, regardless of how old that

signature is.89 Previously, officials had to compare the voter’s envelope signature against “any

two or more signatures” of the voter “made within the preceding six years,” greatly reducing the

possibility that an aberrant or outdated signature would disqualify a voter. SB1’s signature match

provision is particularly punishing when applied to persons with disabilities or elderly voters, as,

for example, their ability to hold a pen steady may change over time.

       6.       SB1 further burdens state officials and expands investigation of voter
                registration applicants and registered voters, despite no evidence of
                widespread voter fraud.

       112.     As described above, there is simply no evidence that widespread voter fraud has

occurred in any election administered by the State of Texas and its political subdivisions.

       113.     Nonetheless, SB1 effectively creates a pipeline for prosecution by sending names

of possibly ineligible voters to law enforcement, even if the voters are in fact eligible or simply

made a mistake. Previously, the county voter registrar verified the voter’s eligibility and removed

ineligible voter from the rolls. Under SB1 Section 2.04, however, if a person whom the voter

registrar subsequently determines is not eligible to vote either registered to vote or voted in an


89
  S.B. 1 § 5.11, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 87.027(i)).



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election, the registrar must execute and deliver, “within 72 hours[,]” an affidavit with the relevant

facts to the Attorney General, the Secretary of State, and the local prosecutor.90 The added threat

of criminal prosecution will have a chilling effect on voter registration, particularly among groups

historically victimized by law enforcement.

       114.    Section 2.10 requires the court clerk, on the third business day of each month, to

send a copy of the list of persons excused or disqualified from jury duty service in the prior month

because of citizenship to the county registrar, the Secretary of State, and the local prosecutor for

an investigation.91 This provision facilitating investigation of voters excused from jury service on

the basis of non-U.S. citizenship will have a disparate impact on Latino voters if law enforcement

uses loose matching criteria that inaccurately flags U.S. citizen voters. For example, a father could

have been excused from jury duty for non-U.S. citizenship and his son who has the same name

and lives at the same address could be improperly flagged for a criminal investigation.

       115.    Sections 2.04 and 2.10 also sweep in and facilitate investigation and prosecution of

perfectly legal activity by voters. For example, a young individual could register to vote in her

home county, then move to a different county for work or college. If the voter subsequently seeks

exemption from jury duty, the voter registrar may contact the voter and remove her from the rolls.

Under SB1 this routine activity would also include reporting the voter to law enforcement even

though the voter has committed no offense.




90
  See S.B. 1 § 2.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at Tex. Elec. Code
§ 15.028).
91
  See S.B. 1 § 2.10, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 62.113(b)).



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          116.   Section 2.07 requires the Secretary of State to compare on a quarterly basis the lists

of individuals who died or were excused from jury duty service for non-citizenship or non-

residence in the county with the statewide computerized voter registration list and to send notice

to the voter registrar of the county. The Secretary of State is not required to send notice to the

subject voter, unless the voter has a separate reason for being excused from jury service.92 If the

voter registrar uses similarly loose matching criteria, eligible voters may be purged from the voter

register and targeted for prosecution. This provision will also have a disparate impact on Latino

voters.

          117.   Section 2.06 requires the Secretary of State to impose certain requirements on

registrars that are not in substantial compliance with a provision or rule related to: (1) the delivery

of the suspense list; (2) the cancellation following end of suspense list period; and (3) the electronic

submission of information for maintenance of the statewide computerized voter registration list.

A county may also be held liable if the county’s registrar “fails to take overt action to comply

with” the imposed requirements.93 Section 8.01 imposes a civil penalty on employees or officers

of the state (and its political subdivisions) who violate a provision of the election code. The civil

penalties “may include termination of the person’s employment and loss of the person’s

employment benefits.”94 These additional penalties will force career officials to shift resources




92
  See S.B. 1 § 2.07, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§§ 18.068(a), (a-1).
93
  See S.B. 1 § 2.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 18.065).
94
  See S.B. 1 § 8.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 31.129(b), (c)).


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towards meeting tight deadlines for reporting voters for investigation and removing voters from

the voter rolls—even in the absence of any pending election—just to avoid these penalties.

G.        SB1 Will Harm Plaintiffs.

          118.   LUPE’s members include Latino registered voters, some of whom have limited

English proficiency and/or have limited formal schooling and limited literacy. LUPE’s members

include Latino voters who require and use assistors of their choice to vote due to disability and/or

inability or limited ability to read or write in English. These voters use their chosen assistors to

navigate the polling place, interact with poll workers, understand how to use the voting equipment

and read, interpret, mark and cast the ballot. Some of LUPE’s members are illiterate because

racially discriminatory practices in Texas prevented them from gaining a formal education.

          119.   LUPE’s members include voters who are disabled and require and use assistors of

their choice, but who are not blind and can see and read the ballot.

          120.   LUPE’s members also include voters who arrive at the polling place in a car with

several individuals, including family members, as part of doing errands for the day, and have, and

would in the future, use curbside voting or drive-thru voting.

          121.   LUPE’s members and staff include individuals chosen as assistors to assist voters

with navigating the polling place, interacting with poll workers, understanding how to use the

voting equipment and reading, interpreting, marking and casting the ballot. LUPE’s members and

staff include individuals chosen as assistors to assist eligible voters with voting by mail, including

helping the voters read, interpret, complete and return the application for ballot by mail and mail

ballot.

          122.   SB1 will injure LUPE’s members, including by depriving them of the assistors of

their choice, which will cause LUPE members who vote in person to vote less than the complete

ballot, not vote at all or make errors that will result in their ballot not being counted or being

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counted in a way that is contrary to the intent of the voter. SB1 will also cause LUPE members

who vote by mail to vote less than the complete ballot, not vote at all, or make errors that will

result in their ballot not being counted or being counted in a way that is contrary to the intent of

the voter.

       123.      SB1 will also injure LUPE’s members by extending wait times at the polling place

as assistors are required to complete forms and take an oath for each assisted voter.

       124.      SB1’s requirements to provide additional information on mail ballot applications

and carrier envelopes will injure LUPE’s members by causing the rejection of their mail ballots

when they make inadvertent clerical errors.

       125.      LUPE’s members include voters who will be intimidated by poll watchers roaming

freely around polling places, watching and listening, and standing close to them while they vote.

       126.      LUPE’s members and staff include individuals who are chosen as assistors and will

be deterred from serving as chosen assistors by SB1’s requirement that the assistor fill out a form;

take an oath; and face criminal prosecution, conviction and punishment for inadvertently making

a mistake on the form or with the oath, or for providing necessary assistance to voters that exceeds

the scope of assistance described in the oath, or for encouraging a voter in a way that law

enforcement officials will conclude is “pressur[ing]” a voter to use them as an assistor in violation

of the required oath.

       127.      SB1 will force LUPE to divert its resources away from its GOTV, voter registration

and community education activities, which are central to its mission, in order to counteract the

negative effects of SB1 on its members. LUPE has in the past, and will in the future, conducted

GOTV activities aimed at Latino registered voters with low turnout. LUPE has in the past, and

will in the future, paid employees who, among their other duties: educate voters about an upcoming



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election; urge the voters to vote; and encourage, offer and deliver assistance to the voters. LUPE’s

employees have in the past, and will in the future, assisted voters in applying for and preparing

their mail ballots as provided by Section 86.010 of the Texas Election Code including assisting

non-family members to prepare their ballots.

       128.    Members of LUPE include individuals who volunteer to be assistors for family

members and non-family members in connection with voting at the polls and by mail. Members

of LUPE include individuals who assist voters, including Latino, elderly, disabled, limited English

proficient and limited literacy voters, to vote by mail including helping the voters prepare their

mail ballots. Members of LUPE include individuals who assist voters, including Latino, elderly,

disabled, limited English proficient and limited literacy voters, to vote in person at the polling

place, including assisting voters in navigating the polling place, interacting with poll workers,

using the voting equipment, reading and interpreting the ballot and recording a vote on the ballot.

Individual LUPE employees and/or members have in the past driven, and would plan in the future

to drive, more than seven voters to the polls for curbside voting.

       129.    SB1 will frustrate the mission of LUPE by reducing the number of people available

to assist voters and reducing voter turnout of voters who rely on assistance, including Latinos with

limited English proficiency, limited literacy rates and low rates of turnout. Members of LUPE

face felony prosecution, conviction and punishment under SB1 for assisting voters to vote in

person and by mail.

       130.    LUPE will be required to divert resources to retrain staff, prepare new educational

materials, recruit, train and manage new volunteers, and conduct community outreach to comply

with SB1’s new restrictions and requirements for assisting voters with mail and in-person voting.

SB1 will also frustrate the mission of LUPE by reducing the number of people available to assist



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voters, and reducing the voter turnout of voters who rely on assistance, including Latinos with

limited English proficiency, limited literacy rates and low rates of voter turnout. Members,

employees, and the leadership of LUPE face felony prosecution, conviction and punishment under

SB1 for assisting voters to vote in person and vote by mail.

       131.    SB1 will frustrate FRIENDSHIP-WEST’s mission of encouraging its eligible

congregants and community members, the majority of whom are Black, to register, to vote, and to

serve as assistors and election workers, and will frustrate its ability to operate as a polling place.

       132.    FRIENDSHIP-WEST has in the past, and will in the future, encouraged civic

education and participation among its congregants and in the communities it serves.

FRIENDSHIP-WEST's voter engagement activities include registering eligible voters, hosting

voter registrar trainings, providing written and online resources about in-person and mail voting

(including information about assisting disabled and limited English proficiency voters), holding

events to encourage members to vote, organizing transportation to the polls for members who lack

access to transportation, recruiting election judges and poll workers, and serving as a polling place.

       133.    FRIENDSHIP-WEST’s congregants include individuals who actively volunteer

their time to drive family members, friends, and neighbors with disabilities or transportation access

issues to the polls; individuals who assist voters, including voters who are elderly and disabled, to

vote by mail, curbside, or in person at the polling place; and individuals who struggle to vote

during normal voting hours because of their work schedules or other commitments, and who have

and would vote between 10:00 p.m. and 6:00 a.m.

       134.    FRIENDSHIP-WEST will be required to divert and expend resources to conduct

voter education; recruit, train, and manage new volunteers; and conduct community outreach to




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ensure that its congregants and community members comply with SB1’s new, often confusing,

and vague restrictions.

       135.    FRIENDSHIP-WEST believes it will have difficulty recruiting election workers

because of confusion about SB1’s new rules and fear among volunteers about criminal

prosecution. FRIENDSHIP-WEST fears that its congregants will be deterred from assisting voters

who need assistance because of SB1’s new and vague criminal restrictions on ballot assistance.

And FRIENDSHIP-WEST fears that its efforts to encourage and educate eligible voters to vote by

mail could subject it and its paid staff to criminal prosecution for “vote harvesting.”

       136.    ADL and its supporters will be irreparably harmed by SB1. In 2020, ADL’s

outreach and education was aimed at ensuring voters had a plan for voting safely. ADL worked

to educate Texans on how to vote, when to vote, and where to vote, focusing primarily on early

voting and mail-in voting (for eligible voters). ADL provided more than 700 schools with

information about the voting process and held webinars on the voting process for students and

their family members. ADL’s voter education and outreach required its staff and volunteers to

gather information from local election officials on the applicable rules in each jurisdiction, and

those efforts were time consuming given 2020’s rule changes and disinformation campaigns.

       137.    ADL is similarly concerned with SB1’s provisions that limit and criminalize voter

assistance. Although ADL does not directly assist voters with mail ballots or applications, it

provides supporters with information about assisting voters. ADL is concerned that by providing

its at least 23,000 Texas supporters with information about how to assist voters with mail-in voting

or applications, the organization would place itself and its supporters at risk of prosecution.




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       138.    ADL will be required to divert and expend resources on designing its voter

education to properly inform Texas voters about SB1’s new, often confusing and/or vague,

provisions.

       139.    SVREP will be irreparably harmed by SB1. SVREP has in the past, and will in the

future, encouraged civic education and participation in the communities it serves. SVREP’s voter

engagement activities include registering eligible voters, hosting voter registrar trainings,

providing written and online resources about in-person and mail voting (including information

about assisting disabled and language minority voters), and holding events to encourage

community members to vote.

       140.    SB1 will force SVREP to divert its resources away from its GOTV and leadership-

building activities, which are central to its mission, in order to counteract the negative effects of

SB1 on the community members and voters SVREP serves. SVREP has in the past, and will in

the future, conducted GOTV activities aimed at Latino registered voters with low turnout. SVREP

has in the past, and will in the future, employed paid canvassers to contact voters in person at their

homes and: educate the voters about an upcoming election, and urge the voters to vote, encourage,

offer and deliver assistance to the voters. SVREP’s paid canvassers have in the past, and will in

the future, assisted voters in applying for and preparing their mail ballots as provided by Section

86.010 of the Texas Election Code including assisting non-family members to prepare their ballots.

       141.    Employees and volunteers of SVREP include individuals who encourage family

members and non-family members to select them as assistors for voting at the polls and by mail.

Employees and volunteers of SVREP include individuals who assist voters, including Latino

elderly, disabled, limited English proficient and limited literacy voters, to vote by mail, including

helping the voters prepare their mail ballots; employees and volunteers of SVREP include



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individuals who assist voters, including Latino elderly, disabled, and voters with limited English

proficiency and limited literacy, to vote in person at the polling place, including assisting voters in

navigating the polling place, interacting with poll workers, using the voting equipment, and

reading and interpreting the ballot and recording a vote on the ballot.

       142.    SVREP will be required to divert resources to retrain staff, prepare new educational

materials, recruit, train and manage new volunteers, and conduct community outreach to comply

with SB1’s new restrictions and requirements for assisting voters with mail and in-person voting.

       143.    Employees and volunteers of SVREP conduct their activities with Latino registered

voters, some of whom are limited English proficient and/or have limited formal schooling and

limited literacy, including Latino voters who require and use assistors of their choice to vote due

to disability or inability to read or write. These voters use their chosen assistors to navigate the

polling place; interact with poll workers; understand how to use the voting equipment; and read,

interpret, mark and cast the ballot.

       144.    SVREP’s employees and volunteers conduct their activities individuals who are

chosen as assistors and will be deterred from serving as chosen assistors by SB1’s requirement

that the assistor fill out a form; take an oath and face criminal prosecution, conviction and

punishment for inadvertently making a mistake on the form or with the oath, or for providing

necessary assistance to voters that exceeds the scope of assistance described in the oath, or for

encouraging a voter in a way that law enforcement officials will conclude is “pressur[ing]” a voter

to use them as an assistor in violation of the required oath.

       145.    SB1 will also frustrate the mission of SVREP by reducing the number of people

available to assist voters, and reducing the voter turnout of voters who rely on assistance, including

Latinos with limited English proficiency and limited literacy, leading to low rates of voter turnout.



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Volunteers, employees, and the leadership of SVREP face felony prosecution, conviction and

punishment under SB1 for assisting voters to vote in person and vote by mail.

       146.    SVREP’s volunteers and employees serve voters who are disabled and require and

use assistors of their choice but who are not blind and can see and read the ballot, including

curbside voters who arrive at the polling place in a car with several individuals, including family

members, as part of doing errands for the day. SVREP’s volunteers and employees serve voters

who are illiterate because racially discriminatory practices in Texas prevented them from gaining

a formal education.

       147.    SB1 will irreparably harm TEXAS IMPACT and its members. TEXAS IMPACT

manages a significant voter education campaign, conducts voter registration drives at churches,

educates members about early voting, encourages members to vote, and distributes mail ballot

applications to eligible voters through its Vote by Mail Captains program. Twenty-five different

congregations participated in that program in 2020, working to assist their elderly and disabled

members in voting by mail during the pandemic. TEXAS IMPACT’s staff and interns were

compensated for their work in the Vote by Mail Captains program, and TEXAS IMPACT and its

member congregations provided funding and resources, including copying services and postage,

to carry out the program. TEXAS IMPACT also recruits election judges, and Texas Impact's

member congregations provide transportation to the polls for voters.

       148.    TEXAS IMPACT will have difficulty recruiting election workers because of

confusion about SB1’s new rules for partisan poll watchers and fear among volunteers of criminal

prosecution for conduct that could “obstruct the view of a watcher.”

       149.    TEXAS IMPACT’s member congregations and individual members will be

deterred from offering transportation to voters because of the additional burdens imposed on



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transporting seven or more voters to the polls, and the risk of confrontation by intimidating poll

watchers.

       150.     TEXAS IMPACT will be required to divert and expend resources to ensure that its

members comply with SB1’s new, onerous, and often confusing and/or vague provisions.

       151.     MABA-TX’s members include Latino registered voters.

       152.     MABA-TX’s members include individuals chosen as assistors to assist eligible

voters in the polling place and with voting by mail, including helping the voters navigate the

polling place, interact with poll workers, read, interpret, complete and submit the ballot.

       153.     SB1 will also injure MABA-TX’s members by extending wait times at the polling

place as assistors complete forms and take an oath for each assisted voter.

       154.     MABA-TX’s members include individuals who are chosen as assistors and will be

deterred from serving as chosen assistors by SB1’s requirement that assistors fill out a form, take

an oath and face criminal prosecution, conviction and punishment for inadvertently making a

mistake on the form or with the oath, or for providing necessary assistance to voters that exceeds

the scope of assistance described in the oath, or for engaging in activity that might be perceived to

be “pressuring” a voter to use them as an assistor in violation of the required oath.

       155.     SB1 will injure MABA-TX’s members by extending wait times at the polling place

as assistors complete forms and take an oath for each assisted voter.

       156.     MABA-TX’s members include individuals who are chosen assistors and will be

deterred from serving as chosen assistors by SB1’s requirement that assistors fill out a form, take

an oath and face criminal prosecution, conviction and punishment for inadvertently making a

mistake on the form or with the oath, or for providing necessary assistance to voters that exceeds




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the scope of assistance described in the oath, or for engaging in activity that might be perceived to

be “pressuring” a voter to use them as an assistor in violation of the required oath.

       157.    SB1 will force MABA-TX to divert its resources away from its community

education activities, which are part of its mission, in order to counteract the negative effects of

SB1 on its members and the communities in which members practice. MABA-TX has in the past,

and will in the future, work to educate voters about upcoming elections, urge the voters to vote,

and encourage, offer and provide assistance to the voters.

       158.    Members of MABA-TX include individuals who volunteer to be assistors for

family members and non-family members in connection with voting at the polls and by mail.

       159.    MABA-TX will be required to divert resources to prepare new educational

materials and conduct outreach to its members to educate them about SB1’s new restrictions and

requirements for assisting voters with mail and in-person voting.

       160.    MABA-TX believes that SB1’s negative effects on Latino voters will result in

fewer Latinos casting ballots and the election of fewer Latino judges. MABA-TX believes that

SB1 will result in MABA-TX members practicing before less diverse judges.

       161.    TEXAS HOPE and its members will be irreparably harmed by SB1. Through its

membership, Texas HOPE focused its 2020 efforts on GOTV strategies and encouraging Latinos

to run for local office. This included efforts to energize and educate voters.

       162.    TEXAS HOPE’s membership includes Latino voters who will be intimidated by

poll watchers roaming freely around the polling place, watching and listening to voters, and

standing close to them while they vote.

       163.    TEXAS HOPE has members who qualify to vote by mail, and its membership will

be harmed by the new barriers on mail voting imposed by SB1.



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       164.    TEXAS HOPE will be forced to divert resources to educate its membership about

SB1's restrictions, the rights that voters still possess under the SB1 regime, and the continuing

importance of voter participation. For example, under SB1 partisan poll watchers have increased

authority to get close to and possibly intimidate voters in the polling place. TEXAS HOPE will be

required to divert resources into providing its members information about the rights of Latino

voters to vote free of harassment in the polling place and recommended responses to voter

harassment.

       165.    Finally, due to its cumulative effect of suppressing Latino voters, laws such as SB1

depress Latino turnout by decreasing interest in and the convenience of voting. In response,

TEXAS HOPE will need to spend more of its resources on enfranchising and educating voters.

Specifically, resources TEXAS HOPE could have used to educate persons who could run for local

office will need to be reallocated to its GOTV effort.

       166.    SB1 will also hurt TEXAS HOPE members who have historically served as poll

workers and election judges. TEXAS HOPE believes it will have difficulty recruiting election

workers because of confusion about SB1’s new rules for partisan poll watchers and fear among

volunteers about criminal prosecution. Yet, political engagement, such as volunteering at the polls,

is integral to TEXAS HOPE’s mission of promoting Latino civil engagement. Accordingly,

TEXAS HOPE will have to divert additional resources to energize its members and the Latino

community to serve as election officials.

       167.    JOLT ACTION will be irreparably harmed by SB1. JOLT ACTION has in the

past, and will in the future, conduct GOTV activities, which are aimed at Latino registered voters

with low turnout, and leadership-building activities, which are central to its mission. In order to




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counteract the negative effects of SB1 on its members and the voters it serves, JOLT ACTION

will be forced to divert its resources away from its GOTV and leadership-building activities.

       168.      JOLT ACTION has in the past, and will in the future, employ paid canvassers to

contact voters in person at their homes to, among other things, educate the voters about an

upcoming election; urge the voters to vote; and encourage, offer and deliver assistance to the

voters. JOLT ACTION’s paid canvassers have in the past, and will in the future, assist voters in

applying for and preparing their mail ballots as provided by Section 86.010 of the Texas Election

Code, including assisting non-family members to prepare their ballots.

       169.      Members of JOLT ACTION include individuals who volunteer to be assistors for

family members and non-family members in connection with voting at the polls and by mail.

Members of JOLT ACTION include individuals who assist voters, including Latino, elderly,

disabled, limited English proficient and limited literacy voters, to vote by mail, including helping

voters prepare mail ballots. Members of JOLT ACTION include individuals who assist voters,

including Latino, elderly, disabled, limited English proficient and limited literacy voters, to vote

in person at the polling place, including assisting voters in navigating the polling place, interacting

with poll workers, using voting equipment, reading and interpreting the ballot and recording a vote

on the ballot.

       170.      JOLT ACTION’s membership and staff include individuals who are chosen as

assistors and will be deterred from serving as chosen assistors by SB1’s requirement that the

assistor fill out a form, take an oath, and face criminal prosecution, conviction and punishment for

inadvertently making a mistake on the form or with the oath, or for providing necessary assistance

to voters that exceeds the scope of assistance described in the oath, or for encouraging a voter in a




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way that law enforcement officials will conclude is “pressur[ing]” a voter to use them as an assistor

in violation of the required oath.

       171.    SB1 will frustrate the mission of JOLT ACTION by reducing the number of people

available to assist voters and reducing voter turnout of voters who rely on assistance, including

Latinos with limited English proficiency, limited literacy rates and low rates of turnout. Members,

employees, and the leadership of JOLT ACTION face felony prosecution, conviction and

punishment under SB1 for assisting voters to vote in person and by mail.

       172.    JOLT ACTION will be required to divert resources to retrain staff, prepare new

educational materials, recruit, train and manage new volunteers, and conduct community outreach

to comply with SB1’s new restrictions and requirements for assisting voters with mail and in-

person voting. For example, JOLT ACTION must redirect its resources towards retraining and

obtaining new materials because employees previously used iPad tablets to help voters request a

mail ballot, but SB1 now requires that mail ballot applications be “submitted” in writing and signed

“using ink on paper.”

       173.    WCVI will be irreparably harmed by SB1. WCVI conducts research to improve

the level of political and economic participation in Latino and other underrepresented

communities. WCVI uses its research to provide information to Latino community leaders that is

relevant to the needs of their constituents, including political behavior and opinions of Latinos and

the impact of public policies on Latinos. Increasing Latino political participation is central to the

mission of WCVI. SB1 targets Latino registered voters through the creation and implementation

of barriers that will reduce voting access for and voter turnout of Latino registered voters. Less

voting by Latino registered voters hurts the overall mission of WCVI.




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        174.   FIEL and its members will be irreparably harmed by SB1. SB1 will force FIEL to

divert its resources away from its GOTV and leadership-building activities, which are central to

its mission, in order to counteract the negative effects of SB1 on its members and the voters FIEL

serves. FIEL has in the past, and will in the future, conduct GOTV activities aimed at Latino

registered voters with low turnout. FIEL has in the past, and will in the future, employ paid

canvassers to contact voters in person at their homes and educate the voters about an upcoming

election, urge the voters to vote, and encourage, offer and deliver assistance to the voters. FIEL’s

paid canvassers have in the past, and will in the future, assist voters in applying for and preparing

their mail ballots as provided by Section 86.010 of the Texas Election Code including assisting

non-family members to prepare their ballots.

        175.   Members of FIEL include individuals who encourage family members and non-

family members to select them as assistors for voting at the polls and by mail. Members of FIEL

include individuals who assist voters, including Latino elderly voters, disabled voters, and voters

with limited English proficiency and limited literacy, to vote by mail including helping the voters

prepare their mail ballots; members of FIEL include individuals who assist voters, including

Latino, elderly, disabled, limited English proficiency and limited literacy voters, to vote in person

at the polling place, including assisting voters in navigating the polling place, interacting with poll

workers, using the voting equipment, reading and interpreting the ballot and recording a vote on

the ballot.

        176.   FIEL will be required to divert resources to retrain staff, prepare new educational

materials, recruit, train and manage new volunteers, and conduct community outreach to comply

with SB1’s new restrictions and requirements for assisting voters with mail and in-person voting.




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       177.    FIEL’s membership and staff include individuals who are chosen as assistors and

will be deterred from serving as chosen assistors by SB1’s requirement that the assistor fill out a

form, take an oath, and face criminal prosecution, conviction and punishment for inadvertently

making a mistake on the form or with the oath, or for providing necessary assistance to voters that

exceeds the scope of assistance described in the oath, or for encouraging a voter in a way that law

enforcement officials will conclude is “pressur[ing]” a voter to use them as an assistor in violation

of the required oath.

       178.    SB1 will also frustrate the mission of FIEL by reducing the number of people

available to assist voters, and reducing the voter turnout, of voters who rely on assistance, including

Latinos with limited English proficiency, limited literacy rates and low rates of voter turnout.

Members, employees, and the leadership of FIEL face felony prosecution, conviction and

punishment under SB1 for assisting voters to vote in person and vote by mail.

       179.    FIEL’s members include Latino registered voters, some of whom are disabled, have

limited English proficiency and/or have limited formal schooling and limited literacy. FIEL’s

members include Latino voters who require and use assistors of their choice to vote due to

disability or inability to read or write. These voters use their chosen assistors to navigate the

polling place, interact with poll workers, understand how to use the voting equipment and read,

interpret, mark and cast the ballot.

       180.    FIEL’s members include voters who are disabled and require and use assistors of

their choice but who are not blind and can see and read the ballot. FIEL’s members also include

curbside voters who arrive at the polling place in a car with several individuals, including family

members, as part of doing errands for the day. Some of FIEL’s members are illiterate because

racially discriminatory practices in Texas prevented them from gaining a formal education.



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          181.   Members of FIEL include individuals who voted in Harris County in 2020 and cast

ballots using drive-thru voting and/or temporary structures for voting, mail ballot applications

proactively sent to them by election officials, and 24-hour voting.

          182.   ISABEL LONGORIA is a strong proponent of encouraging and enabling all

registered voters in Harris County to exercise their rights to cast a lawful ballot. Ms. Longoria, in

turn, routinely encourages those who are (or may be) eligible to vote by mail to request a mail

ballot application. For many voters, voting by mail reduces significant real-world barriers to

casting a ballot. As Elections Administrator, Ms. Longoria also implements and carries out the

S.A.F.E. Initiatives, introduced in 2020, to ensure voter safety in light of the COVID-19 pandemic,

which include a commitment to promote and maximize vote-by-mail within the bounds of the law.

Ms. Longoria often engaged in public outreach efforts to encourage such lawful voting. Ms.

Longoria wishes to continue those efforts to encourage lawful voting by mail.

          183.   It is lawful for a voter to request an application to vote by mail.95 And if a voter

submits an application and it is approved because they are determined to be eligible to vote by

mail, then it is lawful for that voter to cast a mail ballot.96 Ms. Longoria accordingly seeks to

engage in her own First Amendment right to encourage voters to lawfully request mail-in voting

applications so that they can lawfully vote by mail.

          184.   Ms. Longoria has no interest in encouraging (and does not plan to encourage) voters

to request mail-in voting applications if they are not eligible or potentially eligible to vote by




95
     Tex. Elec. Code § 84.012
96
     Id. § 86.001(b)



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mail.97 Ms. Longoria simply wishes to encourage voters who are (or may be) eligible to vote by

mail to request an application so that they can lawfully exercise their right to vote by mail ballot.

          185.     The anti-solicitation provision in Section 7.04, however, makes it a crime for Ms.

Longoria to engage in such encouragement. Specifically, the anti-solicitation provision makes it

a crime for a “public official or election official” to “knowingly . . . solicit[] the submission of an

application to vote by mail from a person who did not request an application.”98 The offense is a

state jail felony that carries a mandatory minimum of six months of imprisonment and a fine of up

to $10,000. 99 It is well settled that speech that encourages or induces another person to do

something can qualify as solicitation under Texas law.100

          186.     SB1’s anti-solicitation provision accordingly chills Ms. Longoria from encouraging

eligible and potentially eligible voters to submit applications to vote by mail by threatening her

with severe criminal penalties and onerous fines for engaging in such speech.              Such pure

expression may qualify as solicitation for the “submission of an application to vote by mail,” which

the anti-solicitation provision makes a crime. In addition, Ms. Longoria will be chilled in her

speech when merely giving truthful advice in response to questions from individual voters because

such truthful advice could be seen as encouraging, inducing, counseling, directing, or otherwise

soliciting the person to request an application.




97
     See id.
98
  S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE §
276.016(a)(1)).
99
     Id. (to be codified at TEX. ELEC. CODE § 276.016(b)); TEX. PENAL CODE § 12.35(a)–(b).
100
  See Medrano v. State, 421 S.W.3d 869, 884 (Tex. Ct. App. 5th Dist. 2014, pet. ref’d); see also
TEX. PENAL CODE §§ 7.02(a)(2); 15.03(a).


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        187.     The chilling effect is particularly acute because Ms. Longoria’s public support for

voting by mail makes her a target for retaliatory or discriminatory prosecution. Given the State’s

history with respect to Harris County’s efforts to encourage mail-in voting, Ms. Longoria is

particularly concerned that she will face criminal prosecution—with a six-month mandatory

minimum sentence—for encouraging eligible voters to request an application to vote by mail even

when they are or may be eligible to do so.

        188.     JAMES LEWIN was an election judge in the 2020 Election, and he intends to serve

as an election judge in future Texas elections. Before serving as an election judge in 2020, Mr.

Lewin’s greatest concern was that he and his team members would encounter disruption at the

polls, including by poll watchers who sought to delay the voting process and discourage or

intimidate voters. Fortunately, Mr. Lewin did not encounter any such disruptions during the 2020

Election. However, because SB1 limits election judges’ ability to regulate poll watchers who

engage in interference and intimidating conduct, and because SB1 creates risk of criminal

prosecution for any “person” serving at a location “in an official capacity” who takes “any action

to obstruct the view of a watcher or distance the watcher from [the observed activity] in a manner

that would make observation not reasonably effective,” Mr. Lewin is concerned about his potential

liability.   Mr. Lewin is uncertain what “action” would make a watcher's observation “not

reasonably effective.” If SB1 is implemented, Mr. Lewin may hesitate to volunteer as an election

judge again because of his (and his family members’) fear for his personal safety and because of

fear of criminal prosecution.

                                        COUNT I
  SB1 violates the First and Fourteenth Amendment of the U.S. Constitution, U.S. Const.
                                    Amend. I and XIV.

        189.     Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Complaint as though fully set forth herein.

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       190.    A court considering a challenge to a state election law must carefully balance the

character and magnitude of injury to First and Fourteenth Amendment rights that the plaintiff seeks

to vindicate against the justifications offered by the state for the burdens imposed by the law. See

Burdick v. Takushi, 504 U.S. 428, 434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).

       191.    The more a challenged law burdens the right to vote, the stricter the scrutiny courts

apply when evaluating the law. Tex. Indep. Party v. Kirk, 84 F.3d 178, 182 (5th Cir. 1996).

“However slight th[e] burden may appear, . . . it must be justified by relevant and legitimate state

interests sufficiently weighty to justify the limitation.” Crawford v. Marion Cnty. Election Bd.,

553 U.S. 181, 191 (2008) (Stevens, J., controlling op.) (quotation marks omitted).

       192.    SB1 inflicts severe burdens on Texas’s voters through each individual restriction

and the cumulative effect of all the measures that impose barriers to voting.

       193.    By prohibiting Plaintiffs, their employees, and their members (as applicable) from

communicating with voters about applications for ballots by mail and mail ballots, SB1’s new

criminal restrictions on ballot assistance and collection services (including what Texas self-

servingly calls “vote harvesting services”) will impose severe burdens on Texas voters wishing to

vote by mail by limiting the number of people available to assist them.

       194.    SB1’s enhanced information requirements, expanded oath, exposure to a potential

perjury charge, and accompanying enhanced criminal penalties for persons assisting voters will

impose severe burdens on, and in some cases entirely deny, the right to vote of Texas voters with

disabilities or language access barriers by limiting the number of people available to assist them

with voting in person or by mail, for fear of criminal prosecution.

       195.    SB1’s criminalization of all forms of compensated assistance will also impose

severe burdens on, and in some cases entirely deny, the right to vote of Texas voters with



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disabilities, advanced age, and/or language access barriers by limiting the number of people

available to assist them with voting by mail, for fear of criminal prosecution. Blind and elderly

voters, voters with disabilities, and voters who cannot read the languages in which ballots are

printed because they have limited English proficiency or limited literacy, are made the most

vulnerable by these new provisions. These groups already have difficulty voting and face even

higher burdens under the new law.

       196.    These limitations on voter assistance serve no legitimate state interest. Indeed, any

purported anti-fraud justification for these limitations is poorly disguised pretext. The bill’s

proponents have not demonstrated any evidence that voter assistance was a major source of

misconduct or fraud in Texas elections (the occurrence of which in any non-trivial amount is

entirely unproven) or that the pre-existing limitations on such assistance were insufficient to

identify and prosecute the very few instances of any such misconduct in this state.

       197.    In fact, with respect to vote by mail, Texas already imposes more restrictions on

mail voting than most states in the country. And even in states that allow everyone to vote by

mail, or even affirmatively mail every registered voter a ballot, fraud is rare.

                                    COUNT II
  SB1 Violates the Fourteenth Amendment of The U.S. Constitution, U.S. Const. amend.,
                                       XIV.

       198.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Complaint as though fully set forth herein.

       199.    Section 1 of the Fourteenth Amendment to the United States Constitution provides:

               No state shall make or enforce any law which shall abridge the
               privileges or immunities of citizens of the United States; nor shall
               any state deprive any person of life, liberty, or property, without due
               process of law; nor deny to any person within its jurisdiction the
               equal protection of the laws.

U.S. Const. amend., XIV.

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       200.    The Fourteenth Amendment prohibits intentional racial discrimination by state

actors. Discriminatory intent may be established by proof that the defendants used race as a

motivating factor in their decisions. Vill. of Arlington Heights v. Metropolitan Hous. Dev. Corp.,

429 U.S. 252, 265 (1977).

       201.    The facts alleged herein, among others to be uncovered during discovery, show that

SB1 was enacted, at least partly, with a racially discriminatory intent to discriminate against voters

of color, on the basis of race and national origin, in violation of the United States Constitution.

       202.    Texas’s long history and ongoing record of racial discrimination in the context of

voting, the known and reasonably foreseeable discriminatory impact of SB1, the sequence of

events and substantive departures from the normal legislative process which resulted in the

enactment of SB1, and the tenuousness of the stated justifications for SB1 raise a strong inference

of a discriminatory purpose in violation of the Fourteenth Amendment.

                                    COUNT III
 SB1 Violates the Fifteenth Amendment of the U.S. Constitution, U.S. Const. amend., XV.

       203.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Complaint as though fully set forth herein.

       204.    Section 1 of the Fifteenth Amendment to the United States Constitution provides:

               The right of citizens of the United States to vote shall not be denied
               or abridged by the United States or by any State on account of race,
               color, or previous condition of servitude.

U.S. Const. amend., XV.

       205.    The Fifteenth Amendment enfranchised voters nationwide, regardless of race or

color, and is an independent source of authority to protect against discrimination in voting. “The

Amendment bans racial discrimination in voting by both state and nation. It thus establishes a




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national policy . . . not to be discriminated against as voters in elections to determine public

governmental policies or to select public officials . . . .” Terry v. Adams, 345 U.S. 461, 467 (1953).

       206.    Similar to the Fourteenth Amendment, discriminatory intent under the Fifteenth

Amendment may be established by proof that the defendants used race as a motivating factor in

their decisions. Mobile v. Bolden, 446 U.S. 55, 62, (1980) (plurality opinion) (citing Vill. of

Arlington Heights, 429 U.S. at 265).

       207.    The facts alleged herein, among others to be uncovered during discovery, show that

SB1 was enacted, at least partly, with a racially discriminatory intent to discriminate against voters

of color in violation of the United States Constitution.

       208.    Texas’s long history and ongoing record of racial discrimination in the context of

voting, the known and reasonably foreseeable discriminatory impact of SB1, the sequence of

events and substantive departures from the normal legislative process ultimately leading to the

enactment of SB1, and the lack of any evidence whatsoever for the stated justifications for SB1

raise a strong inference of a discriminatory purpose in violation of the Fifteenth Amendment.

                                         COUNT IV
          SB1 violates Section 2 of the Voting Rights Act, 52 U.S.C. § 10301, et seq.

       209.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Complaint as though fully set forth herein.

       210.    Section 2 of the Voting Rights Act prohibits state political processes that are “not

equally open to participation” by minority voters, such that those voters “have less opportunity

than other members of the electorate to participate in the political process and to elect

representatives of their choice.” 52 U.S.C. § 10301.




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        211.     The aforementioned burdens and restrictions of SB1 placed on voters

individually—and even more so collectively—abridge the opportunity of minority voters to

participate in the political process and exercise their right to vote.

        212.     As a result, under the totality of the circumstances, SB1’s multifarious burdens and

restrictions individually and collectively violate Section 2 of the Voting Rights Act by abridging

and denying the right to vote and creating less opportunity for people of color than other members

of the electorate to participate in the political process and to elect representatives of their choice,

including Black and Latino voters, and including many of Plaintiffs’ members and congregants.

Texas’s political process is not equally open to participation by minority voters

                                             COUNT V
               SB1 violates Section 208 of the Voting Rights Act, 52 U.S.C. § 10508.

        213.     Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Complaint as though fully set forth herein.

        214.     Section 208 of the Voting Rights Act provides that “[a]ny voter who requires

assistance to vote by reason of blindness, disability, or inability to read or write” in English for

any reason “may be given assistance by a person of the voter’s choice, other than the voter’s

employer or agent of that employer or officer or agent of the voter’s union.” 52 U.S.C. § 10508.

        215.     Section 208 thus establishes the right of a voter with a disability or a voter with

limited English proficiency or limited literacy to choose an assistor to assist the voter with the

voting process, including physically navigating the polling place, interacting with poll workers,

reading and interpreting the ballot, and marking the ballot. Although Texas election law provides

voters who need assistance with the right to receive such assistance from a person of their choice

as required by Section 208, SB1’s new restrictions gut that provision by impeding the voter’s

practical ability to get assistance. SB1 thus violates Section 208 of the Voting Rights Act. OCA-


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Greater Houston v. Texas, 867 F.3d 604 (5th Cir. 2017) (holding that Texas law limiting who can

provide assistance to non-English speaking voters violated Section 208 of the Voting Rights Act

and noting that “a state cannot restrict this federally guaranteed right [Section 208] by enacting a

statute tracking its language, then defining terms more restrictively than as federally defined.”).

       216.    Section 208 establishes the right of a voter with a disability or a voter with limited

English proficiency or limited literacy to choose an assistor to assist the voter with the voting

process, including physically navigating the polling place, interacting with poll workers, reading

and interpreting the ballot, and marking the ballot. Although Texas election law purports to

provide voters who need assistance with the right to receive such assistance from a person of their

choice as required by Section 208, SB1’s new requirements gut that provision and impede the

voter’s practical ability to get the assistance they are entitled to under federal law. SB1 thus

violates Section 208 of the Voting Rights Act. See OCA-Greater Houston v. Texas, 867 F.3d 604

(5th Cir. 2017) (holding that Texas law limiting who can provide assistance to non-English

speaking voters violated Section 208 of the Voting Rights Act and noting that “a state cannot

restrict this federally guaranteed right [Section 208] by enacting a statute tracking its language,

then defining terms more restrictively than as federally defined.”).

                                        COUNT VI
    SB1 violates Title II of the Americans with Disability Act, 42 U.S.C. § 12131, et seq.

       217.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Complaint as though fully set forth herein.

       218.    Title II of the Americans with Disabilities Act (the “ADA”) provides that “no

qualified individual with a disability shall, by reason of such disability, be excluded from

participation in or be denied the benefits of the services, programs, or activities of a public entity,

or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132.


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       219.    “Voting is a quintessential public activity” and, accordingly, Title II requires state

and local governments (i.e., “public entities”) to ensure that people with disabilities have a full and

equal opportunity to vote. Nat’l Fed’n of the Blind v. Lamone, 813 F.3d 494, 507 (4th Cir. 2016)

(noting in a case involving an ADA action by blind voters against a Maryland election official that

“[v]oting is a quintessential public activity. . . . Ensuring that disabled individuals are afforded an

opportunity to participate in voting that is equal to that afforded others. . . .”) (citing 28 C.F.R.

§ 35.130); 28 C.F.R. § 35.130(b)(7).

       220.    There is no valid justification for the burdens that SB1 imposes on voters with

disabilities in making it harder for them to get necessary assistance described herein, as such

restrictions will deny voters with disabilities equal access to the franchise and prevent such voters

from exercising their fundamental right to vote.

       221.    Unless the requested relief is granted, Plaintiffs’ members that are qualified

individuals with disabilities under the ADA and those similarly situated will be discriminated

against and denied adequate access to the franchise.

       222.    Unless the requested relief is granted, the Plaintiffs will be required to incur

substantial costs and divert resources from other activities in order to mitigate the effects of SB1’s

impermissible burdens on the ability of disabled persons to exercise their full and equal

opportunity to vote.

                                        COUNT VII
        SB1 violates the First and Fourteenth Amendments to the U.S. Constitution.

       223.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Complaint as though fully set forth here.

       224.    A law also violates the Fourteenth Amendment if it restricts the freedom of speech

protected by the First Amendment. Under the First Amendment, the “government has no power


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to restrict expression because of its messages, its ideas, its subject matter, or its content.” Brown

v. Entm’t Merch. Ass’n, 564 U.S. 786, 790–91 (2011). When a law regulates speech on the basis

of its content, it is presumptively unconstitutional and subject to strict scrutiny. See Reagan Nat’l

Adver. of Austin v. City of Austin, 972 F.3d 696, 702 (5th Cir. 2020). A law is content based when

it “applies to particular speech because of the topic discussed or the idea or messaged expressed.”

Id. (citing Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015)).

       225.    SB1’s anti-solicitation provision violates the First and Fourteenth Amendments

both on its face and as applied to truthful speech encouraging individuals who are or may be

eligible to vote by mail to request applications for such mail ballots. Speech encouraging or

inducing voters to lawfully request an application to vote by mail does not fit within any

established exception to the First Amendment’s protections. See United States v. Stevens, 559

U.S. 460, 468 (2010). And when the government imposes criminal punishment, it acts as a

sovereign and is thus subject to the full force of the First Amendment’s protections. See Ex parte

Perry, 483 S.W.3d 884911-12 (Tex. Crim. App. 2016); Bose Corp. v. Consumers Union of U.S.,

Inc. 466 U.S. 485, 504 n.22 (1984).

       226.    SB1’s anti-solicitation provision is also both content and viewpoint based. The

anti-solicitation provision imposes harsh criminal penalties and steep fines on public officials and

election officials who engage in speech that encourages or induces voters to request mail ballot

applications, notwithstanding that requesting a mail ballot application is perfectly lawful and it is

perfectly lawful for many Texas voters to vote by mail.

       227.    SB1’s anti-solicitation provision cannot survive First Amendment scrutiny. The

ban on soliciting mail ballot applications does not promote any legitimate, much less compelling,

governmental interest. If anything, public officials and election officials have a compelling interest



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to engage in such speech, because voting is itself a fundamental right and voting by mail is a lawful

way for millions of Texans to exercise that fundamental right. SB1’s anti-solicitation provision

also is not tailored—much less narrowly tailored—to further any compelling governmental

interest, it does not do so by the least restrictive means, and Defendants have ample alternative

channels to achieve any alleged legitimate interest without the anti-solicitation provision’s content-

and viewpoint-based restrictions on Longoria’s speech.          For example, the anti-solicitation

provision independently prohibits public officials and election officials from affirmatively sending

an application to vote by mail to a voter who did not request it. 101 That is a conduct-based

prohibition, and it amply addresses any legitimate concerns the State may have in this area.

Censorship of protected speech is thus entirely unjustified.

       228.    SB1’s penalties for speech about requests for applications are explicitly limited to

public officials or election officials whose speech supports or encourages voters to request an

application to vote by mail. Public officials and election officials whose speech opposes or

discourages requests for applications to vote by mail are not subject to the anti-solicitation

provision’s penalties. But public officials or election officials who exercise their First Amendment

rights to encourage or support such requests face severe criminal penalties and fines. Punishment

thus depends not merely on the content of the speech, but also its viewpoint on the question of

whether voting by mail should be encouraged or discouraged. Such viewpoint discrimination is a

paradigmatic violation of the First Amendment: “The government must abstain from regulating

speech when the specific motivating ideology or the opinion or perspective of the speaker is the




101
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 276.016(a)(2)).


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rationale for the restriction.” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829

(1995).

          229.   Quite simply, the Texas Legislature cannot make it a crime for a public official or

election official to exercise her First Amendment rights to encourage voters to lawfully exercise

their own constitutionally protected right to vote.         SB1’s anti-solicitation provision and

Defendants’ enactment and enforcement violate the First Amendment, entitling Longoria, under

42 U.S.C. § 1983, to the relief requested below.

                                        COUNT VIII
Section 7.04 of SB1 violates the First and Fourteenth Amendments to the U.S. Constitution,
                               U.S. Const. Amend. I and XIV.

          230.   Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Complaint as though fully set forth herein.

          231.   Section 7.04 of SB1 violates the First and Fourteenth Amendments because it is

unconstitutionally vague and impermissibly restricts the freedom of speech.

          232.   A criminal law is unconstitutionally vague, and in violation of the Fourteenth

Amendment’s requirements of due process, if it “(1) fails to provide those targeted by the statute

a reasonable opportunity to know what conduct is prohibited or (2) is so indefinite that it allows

arbitrary and discriminatory enforcement.” Moore v. Brown, 868 F.3d 398, 406 (5th Cir. 2017)

(citation omitted); Women’s Med. Ctr. v. Bell, 248 F.3d 411, 422 (5th Cir. 2001). Courts apply a

“more stringent” vagueness inquiry when a law “interferes with the right of free speech or

association.” Holder v. Humanitarian Law Project, 561 U.S. 1, 19 (2010).

          233.   A law also violates the Fourteenth Amendment if it restricts the freedom of speech

protected by the First Amendment. Under the First Amendment, the “government has no power

to restrict expression because of its messages, its ideas, its subject matter, or its content.” Brown

v. Entm’t Merch. Ass’n, 564 U.S. 786, 790–91 (2011). When a law regulates speech on the basis

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of its content, it is presumptively unconstitutional and subject to strict scrutiny. See Reagan Nat’l

Adver. of Austin v. City of Austin, 972 F.3d 696, 702 (5th Cir. 2020). A law is content based when

it “applies to particular speech because of the topic discussed or the idea or messaged expressed.”

Id. (citing Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015)).

         234.   Section 7.04 violates both of these constitutional requirements.

         235.   First, Section 7.04 fails to provide adequate notice of what is (or is not) prohibited.

Section 7.04 of SB1 outlines a number of offenses for persons engaged in “vote harvesting

services,” which is confusingly defined as “in-person interaction with one or more voters, in the

physical presence of an official ballot, a ballot voted by mail, or an application for ballot by mail,

intended to deliver votes for a specific candidate or measure.”102 A violation results in a third-

degree felony, subject to a minimum of two years (and up to ten years) of jail time and a fine of

up to $10,000.103 Section 7.04 of SB1 does not define “in-person interaction,” potentially reaching

a wide and varying range of possibilities. The statute’s requirement that an interaction be “in the

physical presence of” a ballot or mail ballot is also unclear and does not adequately define the

possible kinds of interactions that could come within the statute’s prohibitions.104 And the intent

requirement (that the interaction be “intended to deliver votes”) is also cryptic, apparently

requiring nothing more than a political motivation (as opposed to an actual intent to defraud or

deceive).




102
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 276.015(a)(2)).
103
      TEX. PENAL CODE § 12.34(a)–(b).
104
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 276.015(a)(2)).



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          236.   Section 7.04’s requirement that a person receive “compensation or other benefit”

in exchange for the interaction does not ameliorate the vagueness. 105 Section 7.04 defines

“benefit” to mean “anything reasonably regarded as a gain or advantage,” no matter how minor.106

The range of possible “benefit[s]” is itself wide and unpredictable to a reasonable person

attempting to understand what conduct the law prohibits.

          237.   Second, the lack of clarity (coupled with the provision’s breadth) invites arbitrary

and discriminatory enforcement. It would be largely up to prosecutors to determine whether to

bring charges based on any in-person interaction between two people in the presence of a ballot,

absentee ballot, or application for an absentee ballot. This possibility would be particularly acute

for campaign workers, because a benefit can be “inferred.” A campaign worker could open herself

to the possibility of criminal prosecution virtually any time she speaks about her work to another

voter in the presence of a ballot, absentee ballot, or application for an absentee ballot.

          238.   Section 7.04 of SB1 also regulates speech. Speech is plainly a form of “in-person

interaction.” And Section 7.04 regulates speech on the basis of its content: namely, whether the

speech is “intended to deliver votes for a specific candidate or measure.”

          239.   Section 7.04 does not promote any legitimate, much less compelling, governmental

interest. Section 7.04 also is not narrowly tailored to advance a compelling governmental interest

through the least restrictive means. In particular, Section 7.04 cannot be justified based on an

interest in preventing fraud because it is not limited in any way to conduct or speech that is

fraudulent, misleading, or unlawful.




105
      Id. (to be codified at TEX. ELEC. CODE § 276.015(e)(1)).
106
      Id. (to be codified at TEX. ELEC. CODE § 276.015(a)(1)).


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        240.    Those prohibitions cannot be constitutionally justified.          Section 7.04 thus

unconstitutionally infringes upon Plaintiffs’ rights under the First and Fourteenth Amendments,

and the Court should declare it unlawful and enjoin its implementation and enforcement.

                                        COUNT IX
               Section 4.09 of SB1 is unconstitutionally vague in violation of
       the Fourteenth Amendment to the U.S. Constitution, U.S. Const. amend. XIV.

        241.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Complaint as though fully set forth herein.

        242.    Section 4.09 of SB1 subjects persons serving in an official capacity at a polling

place to criminal liability as a Class A misdemeanor for taking “any action to obstruct the view of

a watcher or distance the watcher from [the observed activity or procedure] in a manner that would

make observation not reasonably effective.”107

        243.    Section 4.09 of SB1 does not impose any limitations on what “any action” may

constitute, how small it may be, or what it means to have the intent to obstruct or distance a watcher

“in a manner that would make observation not reasonably effective.”

        244.    Section 4.09 accordingly fails to provide adequate notice to poll workers, election

judges, and other officials of what steps, if any, they can take when interacting with a poll watcher

while still avoiding a risk of criminal liability.

        245.    Section 4.09 similarly invites arbitrary and discriminatory enforcement because

prosecutors have essentially free reign to assert, after the fact, that a poll worker took “any action”

with the intent to obstruct or distance a watcher “in a manner that would make observation not

reasonably effective.”



107
   S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC. CODE
§ 33.051(g)).


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       246.    For each of the foregoing reasons and as described above, Section 4.09 of SB1 is

unconstitutionally vague, and the Court should enjoin its implementation and enforcement.

                                        COUNT X
                 SB1 violates the Supremacy Clause of the U.S. Constitution.

       247.    Plaintiffs incorporate all of the allegations contained in the previous paragraphs of

this complaint as though fully set forth here.

       248.    SB1 violates the Supremacy Clause of the U.S. Constitution by denying eligible

voters the right to choose their assistors and receive the assistance to which they are entitled under

federal law.

       249.    Sections 5.01, 5.03, 5.04, and 5.05 of SB1 violate the Supremacy Clause, Article

VI, Clause 2 of the U.S. Constitution because they conflict and interfere with the implementation

and enforcement of federal law, namely Section 208 of the Voting Rights Act.108

                                         COUNT XI
         SB1 violates the First and Fourteenth Amendments of the U.S. Constitution

       250.    Plaintiffs incorporate all of the allegations contained in the previous paragraphs of

this complaint as though fully set forth here.

       251.    SB1’s enhanced information requirements, expanded oath, exposure to a potential

perjury charge, and accompanying enhanced criminal penalties for persons assisting voters violate

the free speech rights of individuals who assist voters at the polling place and with respect to voting

by mail. The voter assistance restrictions violate the First and Fourteenth Amendments, on their

face and as applied, by imposing additional burdens on, and preventing through fear of criminal

prosecution, the delivery of voter assistance by assistors.



108
   52 U.S.C. § 10508 (“Any voter who requires assistance to vote by reason of blindness,
disability, or inability to read or write may be given assistance by a person of the voter’s choice.”).


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       252.   Because the voter assistance restrictions cannot be constitutionally justified, they

unconstitutionally infringe upon Plaintiffs’ rights under the First and Fourteenth Amendments and

the Court should declare them unlawful and enjoin their implementation and enforcement.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request the following relief:

              1.       A declaratory judgment that the challenged provisions in SB1 violate:

                       a.     The Supremacy Clause to the U.S. Constitution;

                       b.     the First, Fourteenth and Fifteenth Amendments to the U.S.
                              Constitution as undue burdens on the right to vote;

                       c.     the First and Fourteenth Amendments to the U.S. Constitution as
                              impermissible restrictions on freedom of speech;

                       d.     the Equal Protection Clause of the Fourteenth Amendment of the
                              U.S. Constitution;

                       e.     Section 208 of the Voting Rights Act;

                       f.     Section 2 of the Voting Rights Act; and

                       g.     the Americans with Disabilities Act.

              2.       An injunction prohibiting Defendants, their respective agents, officers,

       employees, and successors, and all persons acting in concert with each or any of them,

       from enforcing any of the challenged provisions of SB1.

              3.       An order requiring Texas to preclear, under section 3(c) of the Voting

       Rights Act (52 U.S.C. § 10302(c)), all changes in statewide voting practices for a period

       of ten years;

              4.       An order awarding Plaintiffs their costs, expenses, and reasonable

       attorneys’ fees pursuant to, inter alia, 52 U.S.C. § 20510(c), 42 U.S.C. § 1988 and other

       applicable laws; and



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                  5.   Granting any such other and further relief as this Court deems just and

        proper.



Dated: September 3, 2021                           Respectfully submitted,

/s/ Nina Perales_________________                  /s/ Sean Morales-Doyle
Nina Perales                                       Sean Morales-Doyle
Texas Bar No. 24005046                             N.Y. Bar No. 5646641;
MEXICAN AMERICAN LEGAL DEFENSE AND                 Ill. Bar No. 6293421 (inactive)
EDUCATIONAL FUND                                   Eliza Sweren-Becker*
110 Broadway, Suite 300                            N.Y. Bar No. 5424403
San Antonio, TX 78205                              Patrick A. Berry*
Telephone: (210) 224-5476                          N.Y. Bar No. 5723135
Facsimile: (210 224-5382                           Andrew B. Garber*
nperales@maldef.org                                N.Y. Bar No. 5684147
                                                   BRENNAN CENTER FOR JUSTICE AT
                                                   NYU SCHOOL OF LAW
Michael C. Keats*                                  120 Broadway, Suite 1750
Rebecca L. Martin*                                 New York, NY 10271
Jessica M. Choi*                                   Telephone: (646) 292-8310
FRIED, FRANK, HARRIS, SHRIVER &                    Facsimile: (212) 463-7308
JACOBSON LLP                                       sean.morales-doyle@nyu.edu
One New York Plaza                                 eliza.sweren-becker@nyu.edu
New York, New York 10004                           patrick.berry@nyu.edu
Telephone: (212) 859-8000                          andrew.garber@nyu.edu
Facsimile: (212) 859-4000
michael.keats@friedfrank.com                       * Application for admission pro hac vice
rebecca.martin@friedfrank.com                      forthcoming
jessica.choi@friedfrank.com
                                                   /s/ Elizabeth Y. Ryan______________
* Application for admission pro hac vice           Paul R. Genender
forthcoming                                        Texas State Bar No. 00790758
                                                   Elizabeth Y. Ryan
-and-                                              Texas State Bar No. 24067758
                                                   Matthew Berde*
Christopher Bell*                                  Texas State Bar No. 24094379
FRIED, FRANK, HARRIS, SHRIVER &                    Megan Cloud^
JACOBSON LLP                                       Texas State Bar No. 24116207
801 17th Street, NW                                WEIL, GOTSHAL & MANGES LLP
Washington, DC 20006                               200 Crescent Court, Suite 300
Telephone: (202) 639-7000                          Dallas, Texas 75201
Facsimile: (202) 639-7003                          Telephone: (214) 746-8158
christopher.bell@friedfrank.com                    Facsimile: (214)746-7777


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                                                Liz.Ryan@weil.com
* Application for admission pro hac vice        Paul.Genender@weil.com
pending                                         Matt.Berde@weil.com
                                                Megan.Cloud@weil.com
Attorneys for Plaintiffs:
LA UNIÓN DEL PUEBLO ENTERO                      -and-
SOUTHWEST VOTER REGISTRATION
   EDUCATION PROJECT                            Alexander P. Cohen*
MEXICAN AMERICAN BAR                            Texas State Bar No. 24109739
   ASSOCIATION OF TEXAS                         WEIL, GOTSHAL & MANGES LLP
TEXAS HISPANICS ORGANIZED FOR                   767 Fifth Avenue
   POLITICAL EDUCATION                          New York, New York 10153
JOLT ACTION                                     Telephone: (212) 310-8020
WILLIAM C. VELASQUEZ INSTITUTE                  Facsimile: (212) 310-8007
FIEL HOUSTON INC.                               Alexander.Cohen@weil.com

                                                * Application for admission pro hac vice
                                                forthcoming
                                                ^ Application for admission pending

                                                Attorneys for Plaintiffs:
                                                FRIENDSHIP-WEST BAPTIST
                                                   CHURCH
                                                ANTI-DEFAMATION LEAGUE
                                                   AUSTIN, SOUTHWEST, AND
                                                   TEXOMA REGIONS
                                                TEXAS IMPACT
                                                ISABEL LONGORIA
                                                JAMES LEWIN

                                                /s/ Christian D. Menefee
                                                Christian D. Menefee
                                                Harris County Attorney
                                                Texas Bar No. 24088049
                                                Christian.Menefee@cao.hctx.net
                                                Jonathan Fombonne
                                                First Assistant Harris County Attorney
                                                Texas Bar No. 24102702
                                                Jonathan.Fombonne@cao.hctx.net
                                                Tiffany Bingham*
                                                Managing Counsel
                                                Texas Bar No. 24012287
                                                Tiffany.Bingham@cao.hctx.net




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                                  Sameer S. Birring
                                  Assistant County Attorney
                                  Texas Bar No. 24087169
                                  Sameer.Birring@cao.hctx.net
                                  Radiah Rondon*
                                  Assistant County Attorney
                                  DC Bar No. 499779
                                  Radiah.Rondon@cao.hctx.net
                                  Susannah Mitcham*
                                  Assistant County Attorney
                                  Texas Bar No. 24107219
                                  Susannah.Mitcham@cao.hctx.net
                                  OFFICE OF THE HARRIS COUNTY ATTORNEY
                                  1019 Congress Plaza, 15th Floor
                                  Houston, Texas 77002
                                  Telephone: (713) 274-5101
                                  Facsimile: (713) 755-8924

                                  * Application for admission pro hac vice
                                  forthcoming

                                  Attorneys for Plaintiff: ISABEL
                                  LONGORIA




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